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Addresses in Wallets
                             Case 3:20-cr-00249-RS




      Bobs Wallet

       2
                             Document 484-2




      BTC

   1Btu73y...       3
                   BTC

      1.5       1PyT53t...
      BTC
                             Filed 01/18/25




   1FSE9y6...
                             Page 2 of 116




                             1
Simple Transaction: Single Input / Single Output


       Bob owes Alice 1.5 BTC
                                                                                         Case 3:20-cr-00249-RS




                              1.5         1.5   1.5        1.5
                              BTC         BTC              BTC
                                                                                         Document 484-2




                                                BTC
                   2         1Btu73y...                  1YuR38j...
                  BTC
                                3
                1Fsev6y...
                               BTC

                             1PyT53t...
                                                                                         Filed 01/18/25




    Bob has 5.0
            6.5 BTC in his wallet                     Alice has 1.5
                                                                0 BTC
                                                                    BTC
                                                                      in in
                                                                          her
                                                                            her
                                                                              wallet
                                                                                wallet
                                                                                         Page 3 of 116




                                                                                         2
{
    "txid": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "hash": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "version": 1,
    "size": 224,
    "vsize": 224,
    "weight": 896,
    "locktime": 0,
    "vin": [
       {
         "txid": "bfd3134e7dca0a01cb6a81e0a3515bf961cdc1283f7cb9d023adddfe4a51304a",
         "vout": 1,
         "scriptSig": {
               "asm": "3045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b[ALL]
               04a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba125cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed",
               "hex":
                                                                                                                                                                                                                                                  Case 3:20-cr-00249-RS




               "483045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b014104a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba12
               5cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed"
         },
         "sequence": 4294967295
       }
    ],
    "vout": [
       {
         "value": 25.4395,
         "n": 0,
         "scriptPubKey": {
            "asm": "OP_DUP OP_HASH160 7d581c67c7957c23b104d2721ea22a97f27c02a8 OP_EQUALVERIFY OP_CHECKSIG",
                                                                                                                                                                                                                                                  Document 484-2




            "hex": "76a9147d581c67c7957c23b104d2721ea22a97f27c02a888ac",
            "address": "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz",
            "type": "pubkeyhash",
            "addresses": [
               "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz"
            ],
            "reqSigs": 1
         }
       }
    ]
}
                                                                                                                                                                                                                                                  Filed 01/18/25
                                                                                                                                                                                                                                                  Page 4 of 116
{
    "txid": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "hash": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",    Transaction ID
    "version": 1,
    "size": 224,
    "vsize": 224,
    "weight": 896,
    "locktime": 0,
    "vin": [
       {
         "txid": "bfd3134e7dca0a01cb6a81e0a3515bf961cdc1283f7cb9d023adddfe4a51304a",
         "vout": 1,                                                                   Input
         "scriptSig": {
               "asm": "3045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b[ALL]
               04a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba125cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed",
               "hex":
                                                                                                                                                                                                                                                  Case 3:20-cr-00249-RS




               "483045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b014104a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba12
               5cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed"
         },
         "sequence": 4294967295
       }
    ],
    "vout": [
       {
         "value": 25.4395,  Output
         "n": 0,
         "scriptPubKey": {
            "asm": "OP_DUP OP_HASH160 7d581c67c7957c23b104d2721ea22a97f27c02a8 OP_EQUALVERIFY OP_CHECKSIG",
                                                                                                                                                                                                                                                  Document 484-2




            "hex": "76a9147d581c67c7957c23b104d2721ea22a97f27c02a888ac",
            "address": "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz",
            "type": "pubkeyhash",
            "addresses": [
               "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz"
            ],
            "reqSigs": 1
         }
       }
    ]
}
                                                                                                                                                                                                                                                  Filed 01/18/25
                                                                                                                                                                                                                                                  Page 5 of 116
{
    "txid": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "hash": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",    Transaction ID
    "version": 1,
    "size": 224,
    "vsize": 224,
    "weight": 896,
    "locktime": 0,
    "vin": [
       {
         "txid": "bfd3134e7dca0a01cb6a81e0a3515bf961cdc1283f7cb9d023adddfe4a51304a",
         "vout": 1,                                                                   Input
         "scriptSig": {
               "asm": "3045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b[ALL]
               04a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba125cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed",
               "hex":
                                                                                                                                                                                                                                                  Case 3:20-cr-00249-RS




               "483045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b014104a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba12
               5cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed"
         },
         "sequence": 4294967295
       }
    ],
    "vout": [
       {
         "value": 25.4395,  Output
         "n": 0,
         "scriptPubKey": {
            "asm": "OP_DUP OP_HASH160 7d581c67c7957c23b104d2721ea22a97f27c02a8 OP_EQUALVERIFY OP_CHECKSIG",
                                                                                                                                                                                                                                                  Document 484-2




            "hex": "76a9147d581c67c7957c23b104d2721ea22a97f27c02a888ac",
            "address": "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz",
            "type": "pubkeyhash",
            "addresses": [
               "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz"
            ],
            "reqSigs": 1
         }
       }
    ]
}
                                                          e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257
                                                                                                                                                                                                                                                  Filed 01/18/25




                                                         1BbaVGU5SRMSUpvdZpJTdMY8YH1FydYCsJ                                     25.44                       1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz                                        25.4395
                                                                                                                                                                                                                                                  Page 6 of 116
Block 80001                             Block 80002                       Block 80003
                                        a37k
                                                                                                          Case 3:20-cr-00249-RS




                                        a6e0

                                        e9521
                                        d6e0
                                                                                                          Document 484-2
                                                                                                          Filed 01/18/25




              e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257

              1BbaVGU5SRMSUpvdZpJTdMY8YH1FydYCsJ   25.44   1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz   25.4395
                                                                                                          Page 7 of 116
                      Date / Time Stamp
                                                          Case 3:20-cr-00249-RS




Output Address                          Amount
                                                          Document 484-2




                        Private Key / Signature
                                                  Tx ID
                                                          Filed 01/18/25




                 Input Address
                                                          Page 8 of 116
Co-Spending


      Bob owes Alice 4.5 BTC
                                                                                        Case 3:20-cr-00249-RS




                             1.5         1.5
                             BTC         BTC
                                                                                        Document 484-2




                  2         1Btu73y...         4.5        4.5
                 BTC                           BTC        BTC
                               3          3
               1Fsev6y...                               1YuR38j...
                              BTC        BTC
                            1PyT53t...
                                                                                        Filed 01/18/25




   Bob has 2.0
           6.5 BTC in his wallet                     Alice has 4.5
                                                               0 BTC
                                                                   BTC
                                                                     in in
                                                                         her
                                                                           her
                                                                             wallet
                                                                               wallet
                                                                                        Page 9 of 116




                                                                                        8
Change

      Bob owes Alice 1 BTC
                                                                                    Case 3:20-cr-00249-RS




                2           1.5         1.5    1          1
                                                                                    Document 484-2




               BTC          BTC         BTC   BTC        BTC

              1Fsev6y...   1Btu73y...                  1YuR38j...


                3            0.5              0.5
               BTC           BTC              BTC
             1PyT53t...    1GUt4r3...
                                                                                    Filed 01/18/25




  Bob has 5.5
          6.5 BTC in his wallet                     Alice has 1
                                                              0 BTC in her wallet


                                                                                    9
                                                                                    Page 10 of 116
                                                 Case 3:20-cr-00249-RS




         Receipt           Coffee   -   $ 4.00
Coffee         $4.00

__________________
                                                 Document 484-2




Paid               $5.00

Change         $1.00
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                                                 Page 11 of 116
{
    "txid": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "hash": "e9521b3ef0b5248fd285f885765e8f0c184a7c7541baff1cdd70f0868f80d257",
    "version": 1,
    "size": 224,
    "vsize": 224,
    "weight": 896,
    "locktime": 0,
    "vin": [
       {
         "txid": "bfd3134e7dca0a01cb6a81e0a3515bf961cdc1283f7cb9d023adddfe4a51304a",
         "vout": 1,
         "scriptSig": {
               "asm": "3045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b[ALL]
               04a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba125cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed",
                                                                                                                                                                                                                                                  Case 3:20-cr-00249-RS




               "hex":
               "483045022100ce73f6dbd441cb7c99e276664aad8417f24fafea1744be2747a2ccf550eac68902207fc36331ff88d460f90b9bf735c57c1a066803e10e79370ecbe8ca2d451f6d5b014104a645a2b98da3e74a5d077acb4cb258911d79ad09f0c13f2618de192a2429773cd4ac9423fbf2f6ba12
               5cca1c3ab2e40401afc38e3ec222f6432b36097d4143ed"
         },
         "sequence": 4294967295
       }
    ],
    "vout": [
       {
         "value": 25.4395,
         "n": 0,
         "scriptPubKey": {
            "asm": "OP_DUP OP_HASH160 7d581c67c7957c23b104d2721ea22a97f27c02a8 OP_EQUALVERIFY OP_CHECKSIG",
                                                                                                                                                                                                                                                  Document 484-2




            "hex": "76a9147d581c67c7957c23b104d2721ea22a97f27c02a888ac",
            "address": "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz",
            "type": "pubkeyhash",
            "addresses": [
               "1CRm234XE72QmaQ14GFv4fVBgYVmnbucAz"
            ],
            "reqSigs": 1
         }
       }
    ]
}
                                                                                                                                                                                                                                                  Filed 01/18/25
                                                                                                                                                                                                                                                  Page 12 of 116
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 13 of 116
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 14 of 116
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 15 of 116
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 16 of 116
Mushicj           Case 3:20-cr-00249-RS        Document 484-2        Filed 01/18/25     Page 17 of 116
11 April 2018

A
01:20
AmlBit
Hello BD
01:20
I was just given your contact information
01:21
Please let me know when your available for a chat.
01:24
Hello

I would like to know more about the coin listing process on your exchange. We have attached out coin specification along
with other relevant documentation needed to list the Aml BitCoin.

We hope you enjoy the commercial we made below. It will be played in your area soon.

https://www.youtube.com/watch?v=889uWllG6m8


Please note we are the only digital currency that is not only AML / KYC Compliant, we actually use Certified Digital
Identities in partnerships with Banks / Insurance Companies / & Government Entities.

Our white paper is on the link below.

https://amltoken.com/wp-content/uploads/2018/01/AML-Bitcoin-Whitepaper-1.pdf

Below are some articles about us as well.


http://bitcoinist.com/aml-bitcoin-creator-saw-early-weakness-digital-currency-world-innovated-solution-filed-patents-well-
world-financial-leaders/

https://www.usnews.com/opinion/thomas-jefferson-street/articles/2017-09-12/the-future-of-cryptocurrency-may-be-now-
thanks-to-more-mainstream-bitcoin

https://www.investors.com/politics/commentary/a-new-digital-currency-aml-bitcoin-makes-landfall-in-panama/

https://seekingalpha.com/instablog/22912651-daniel-jennings/5072907-aml-bitcoin-creator-talks-european-governments


Do let me know if you need anything else from our side.


Thank you so much for your time.
01:26
AML TOKEN COIN SPECIFICATIONS (ABTC).pdf
36.2 KB

M
01:40
Mushicj
Hello
01:41
You should know that
                  Case we3:20-cr-00249-RS
                          are not free        Document 484-2 Filed 01/18/25 Page 18 of 116
01:42
NOW The fee of the list is 6btc we provide two kinds of pairs: ETH and BTC.
And there are other requirements,for example:Market-making on IDAX and airdrop tokens.

A
01:53
AmlBit
Hello
01:53
I know you are not free. A lot of trading sites are not.
01:53
I am interested in paying the listing fees.

M
01:54
Mushicj
Forgive my broken English, I was translated by Google, so sometimes I can't express my meaning and tone perfectly. Please
understand this, thank you.

A
01:54
AmlBit
my partner is Dr. Terence Poon
01:54
What country are you in?
01:54
My partner speaks various languages.

M
01:55
Mushicj
IDAX is registered in Mongolia, but I am Chinese.

A
01:55
AmlBit
My business partner speaks Chinese
01:56
He lives in Hong Kong.

M
01:56
Mushicj
No problem. I can communicate with you in English.

A
01:56
AmlBit
Do you have a WhatsApp?
01:56
O.K.

M
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 19 of 116
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 20 of 116
Deleted Account Case 3:20-cr-00249-RS             Document 484-2         Filed 01/18/25      Page 21 of 116
10 March 2020

A
06:00
AmlBit
Hello Tina.
06:01
This is Marcus Andrade with AmlBitcoin
06:02
Bilaxy Exchange looks interesting.

06:35
Deleted Account
Hi Marcus, Nice to meet you.
06:35
I have sent listing invitation to you.
06:37
We are finding good project to list on Bilaxy now.
06:40
Does your project based on own blockchain?

A
09:45
AmlBit
Hell Tina,
09:45
Yes we have our own blockchain that also allows others to create there own tokens or asset directly from our wallets.

20:39
Deleted Account
Okay. Normally Bilaxy will charge some basic fee for listing service and integration. Bilaxy will do basic market making
service for you. And try our effort to improve market liquidity and depth. So do you have any budget for this?

A
21:14
AmlBit
What is the listing fees?

21:42
Deleted Account
it will take 1BTC+1BTC in project tokens to list in one trading pair.

A
22:05
AmlBit
Since people will be able to create their own token directly from our wallets, can we get a referral fee or a discount for all of
the people who create tokens on our blockchain to get listed on your exchange?

22:14
Deleted Account
do you mean you could introduce any other projects based on your blockchain to list on Bilaxy?

A
22:35              Case 3:20-cr-00249-RS Document 484-2 Filed 01/18/25 Page 22 of 116
AmlBit
yes
22:35
We have a list of companies that want to start using our blockchain
22:36
The difference between creating a token on our blockchain (aml asset) and an ERC20 is that our token is tied to aml and
kyc.
22:36
You can't own one of our coins or token unless you go through ID Verification.
22:37
Remember, you can go onto our wallet and create a token in 30 seconds.
22:37
https://www.youtube.com/watch?v=eIvi1TzePxQ&utm_source=BenchmarkEmail&utm_campaign=NEAR_COMPLETION
&utm_medium=email
11 March 2020

00:30
Deleted Account
I see. We could give you commision if the projects that you introduce succeed to list on Bilaxy.Welcome to introduce more
project to us.
00:31
So how about our offer for AML Bitcoin?

A
00:58
AmlBit
Instead of commissions, could you give our group (various companies) discounted listing prices?

01:03
Deleted Account
I will apply with our team. But can't less than 1BTC+1BTC in project tokens.
21 March 2020

A
20:51
AmlBit
Ok thanks
23 March 2020

22:14
Deleted Account
Hi Marcus, hope you are all well and staying healthy in the face of the global pandemic.
22:14
Is there any updates about our offer for AmlBitcoin?
28 March 2020

A
13:23
AmlBit
Hello
13:23
I was waiting for you Tina to get back to me.
13:24
You were going toCase
                 get back to me about a discount
                       3:20-cr-00249-RS          less than 484-2
                                              Document     the full 1 Filed
                                                                      BTC amount   if we Page
                                                                            01/18/25     agree to
                                                                                               23give you more listing
                                                                                                  of 116
clients?
29 March 2020

21:39
Deleted Account
Could you accept 1BTC+1BTC in project tokens to list in one trading pair for ABTC?
4 April 2020

A
00:45
AmlBit
Hello
00:46
Make it 5K USD and 1 BTC in our coin and you have a deal
19 April 2020

A
21:22
AmlBit
??
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 24 of 116
        Case 3:20-cr-00249-RS             Document 484-2            Filed 01/18/25        Page 25 of 116
                                                                                                 Partida Services OÜ.

                                                                                      Laki 30, 12915, Tallinn, Estonia




                               P2PB2B PARTNERSHIP AGREEMENT NO. 28.06.2020-1

This agreement is entered by PARTIDA SERVICES OÜ, incorporated in Laki 30, 12915, Tallinn, Republic of Estonia,
acting as an agent on behalf of the company PARTIDA TECHNOLOGIES LLP, company No. OC427053 with registered
address: 120 Baker Street, London, W1U 6TU (hereinafter - the P2PB2B ) and person or company/legal entity,
named below (hereinafter - the INITIATOR OF THE LISTING or the INITIATOR ).
WHEREAS, the INITIATOR OF THE LISTING is interested in listing of COIN (TOKEN) AML Bitcoin on the P2PB2B s
cryptocurrency exchange (p2pb2b.io),
NOW, THEREFORE, the Parties agree as follows:

1. DEMANDS TO COIN (TOKEN) AND TO ITS MAINTAINANCE/SUPPORT
1.1. COIN (TOKEN) has to be created/supported by a team with sufficient skills and abilities (technical and
marketing). It is required to ensure its long-term operation, maintenance and support.
1.2. INITIATOR has to ensure that the listing of the COIN (TOKEN) will be supported technically by technical staff,
which has to be available for requests and assistance while listing. INITIATOR OF LISTING shall provide the contact
details of the person(s), responsible for assistance and support while listing email, messenger. If such the technical
specialist(s) will not be available while listing, P2PB2B reserves the right to postpone a term of the listing.

2. APPLICATION PROCESS
2.1 After it is preliminary agreed that the listing is accepted by P2PB2B, Parties carry out further communications
(consultations) concerning technical details of the listing.
2.2 INITIATOR OF THE LISTING shall pay to P2PB2B for the listing of COIN (TOKEN) after both Parties reached the
initial settlement plan but in any case before listing. After receiving the payment P2PB2B starts technical and
organizational procedures of listing.
2.3. INITIATOR OF THE LISTING shall ensure that all the necessary technical information is provided to P2PB2B.
2.4 P2PB2B provides the listing of COIN (TOKEN) in term up to 1 month. For the ERC-20 TOKEN the listing process
takes up to 2 (two) weeks.
2.5. In connection with the listing the P2PB2B:
- provides one trading pair for ABTC with USDT;
- provides the market-making service for 2 (weeks) month;
- provides the trial Boost service - AMA session, Referral Games.
2.6. The INITIATOR OF LISTING shall guarantee that COINS (TOKENS) transfer to P2PB2B would not be made until the
appropriate announcement in official telegram channel of P2PB2b is made that the COIN (TOKEN) is listed on the
p2pb2b.io.

3. REQUIRED TECHNICAL DATA
3.1 General description of technology - whether it is blockchain-driven or not, smart contract support etc.
3.2 Full node - where to download, how to install and run on Windows and Linux (Ubuntu), documented command
line arguments.
3.3 Detailed documentation for node's API, primarily following methods:
   create new address (account);
   send transaction;
   get transaction by ID;
   find all transactions by parameters - receiver address (account), time period, starting/ending block, etc.
3.4 Whether there is a system of notifications on new block or incoming transaction (like in Bitcoin). If there is -
documentation on that system.
                                                                                                                    1
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                                                                                                 Partida Services OÜ.

                                                                                       Laki 30, 12915, Tallinn, Estonia


3.5 Available production-ready solutions (libraries/SDK) for different programming languages.
3.6 Access to testnet, faucets or other ways to receive test coins.
3.7 Links to GitHub and supporting community.
3.8 How many symbols after the comma are the minimal unit of cryptocurrency.
3.9 The commission range for crypto currency in the internal network (the algorithm if different depending on
certain criteria).
3.10 The information - is the coin developed on the basis of the existing coin:
- If yes, on which one?;
- If no, the link to the full documentation of the coin.

4. DELISTING POLICY
4.1. P2PB2B reserves the right to delist COIN (TOKEN) from the exchange (after prior noticing of the INITIATOR or
official team of COIN/TOKEN if effective measures were not taken urgently) in cases:
a) the project team is dismissed or no longer maintains the currency or requests to be delisted;
b) the project faces significant legal issues;
c) serious technical or security issues that are not resolved in a reasonable time;
d) trading volume with COIN was l w - less than equivalent $10,000 per day (within 15 business days);
e) severe dishonesty in information disclosure; if it is necessary to prevent and/or to stop fraud, manipulations on
the exchange, breaching securities or other laws/regulation, hacking attacks and/or if signs of fraud, breaching
laws/regulation related to listing/trading COIN/TOKEN are identified;
f) the project refuses to cover the costs for additional work (efforts) provided by the P2PB2B team (including in case
of wallet updates, changing the smart contract, changing the blockchain etc).
g) if payment(s) for listing and/or for using server capacity to P2PB2B is(are) overdue; in case of subscription - if a
subscription period ended, and the subscription was not renewed and paid for within 7 days; if other conditions of
this Agreement and/or Terms of use are breached.

5. SUPPLEMENTARY RULES
5.1 This Agreement shall take effect from the date of signing by both Parties.
5.2 Without the permission of P2PB2B, INITIATOR OF THE LISTING shall not disclose to third parties the specific
content of this agreement and related matters.
5.3 Parties should comply with Terms of use of p2pb2b.io which have priority over this Agreement if the Terms of
use sets the rules of listing. Trades (and/or other usage) of COIN (TOKEN) on p2pb2b.io are regulated by the Terms of
use of p2pb2b.io.
5.4. If the Tiker (name) and/or smart-contract of the TOKEN and/or blockchain, on which COIN(TOKEN) is based is
(are) changed (including migration to other blockchain) during or after listing the additional payment shall be agreed
by parties additionally. Additional payment will be charged by P2PB2B in cases if P2PB2B after initial integration of
COIN(TOKEN) of COIN(TOKEN) of COIN(TOKEN) performs works (provides services) because of upgrades and/or fixing
of Project s blockchain and/or software (wallet updates, changing the smart contract, changing the blockchain etc).




                                                                                                                     2
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                                                                                            Partida Services OÜ.

                                                                                 Laki 30, 12915, Tallinn, Estonia


6. PAYMENT DETAILS
6.1 INITIATOR OF THE LISTING shall pay 1 BITCOINS on BTC ADDRESS 1P2PyqEUk2Akde3Cpxn5G6rTE2h3NWJqar
(nonrefundable payment for listing of COIN (TOKEN).


P2PB2B                                                 INITIATOR OF THE LISTING
PARTIDA SERVICES OÜ, acting as an agent on behalf of   Full name (person or company)___________________
the company PARTIDA TECHNOLOGIES LLP                   _____________________________________________
                                                       Official verified email (or official email for further
                                                       verification)       on        P2PB2B          platform
                                                       ______________________________

Signature ______________                               Signature ___________________

Signing date _________________                         Signing date _________________




                                                                                                                3
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                  CoinTiger&ABTC Listing Agreement
  Party A: SINGAPORE TAI-E CYBER-TECH PTE.LTD.
  Party B: https://amlbitcoin.com/

  In accordance with the principles of voluntary, equality, friendly cooperation and mutual
  understanding, both parties have reached the following cooperation on the issue of the listing
  of ABTC to the CoinTiger.

  1.   Listing Time (Estimated)
  1)   Deposit: 16:00, July 16th, 2020 (GMT+8)
  2)   Trading: 16:00, July 17th, 2020 (GMT+8)
  3)   Withdraw: 16:00, July 20th, 2020 (GMT+8)
  4)   Trading Pairs: ABTC/BTC

  2.   Listing Fees
  1)   Service Fees: 3 BTC
       3 BTC paid for listing fee
  2)   Market Activity: pending
       The specific plan is discussed in detail separately

  BTC Address: 1UebFSC532b7XKete4Y3DSPHgvSqDWivW


  3. Party A s Obligation and Right
  1) Party A provides one-stop listing service, including transaction, marketing promotion,
  acitivty, market making support and others


  4. Removal Policy
  In order to protect the benefits of users, CoinTiger reserve the right to keep or remove any
  coins from our exchange and notify the delisting via announcement, if project teams trigger
  the following conditions - including but not limited to:
        Dissolution of project team.
        Due to the strategic adjustment and development needs, the project team takes the
  initiative to apply for delisting.
        Project teams are suspected of operating the market, or project team faces major legal
  issues.
        The progress of the project is seriously inconsistent with the plan.
        Serious technical or security problems of the project have not been solved in time.
        The project side changes the key information such as the white paper, contract privately,
  causing serious consequences.
        There are other major risks in the projects, such as theft of coins by hackers,
  concealment of additional issuance and so on, which are sufficient to make the projects have
  risk events.
        The daily average transaction volume of tokens is less than 1 BTC or the daily
  transaction volume of token is 0 for 3 days.
        Increasing the total available supply of the token or splitting the token without notifying
  users and the exchange.
        Other circumstances that are sufficient for delisting

  CoinTiger will issue a delisting announcement for projects that trigger the delisting condition 7
  days in advance and remind again before Token deposit withdrawal and trading are not
  available. Within 30 days from the date of announcement, users shall transfer the crypto-
  currencies to their personal digital asset wallets or other trading platform accounts.

  5.   Listing Preparations
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               Item                 Deadline                                      Notes
     Fees/Deposit/Airdrop
                                  July 1st, 2020   Deposit to the above address


   Liquidity    Registration       July , 2020     Register accounts on CoinTiger


                                                   Document https://github.com/cointiger/api-docs
                 API Debug         July, 2020      Demo Address https://github.com/cointiger/api-demo
                                                   API Key: Account API control create the new key


               Market Making                       Deposit ABTC, BTC and ETH to the address of market
                                   July, 2020
                   Chips                           making account


                 Token for                         Deposit ABTC worth of $20 for debugging to the address:
                                   July, 2020
                 debugging


                    Token
    Market                         July, 2020      Fill in the form   Token Introduction
                 Introduction

                                                   Confirm form       of   activities,   such   as   airdrop,   trading
               Listing Activity    July, 2020
                                                   competition


  6. Confidentiality Clause
  Both Party A and Party B shall keep the contents of this agreement strictly confidential and
  shall not provide or disclose to any third party other than this agreement directly or indirectly
  without the written consent of one party. Under any circumstances, the confidentiality
  obligation specified in this article is perpetual and effective. If one party violates this clause,
  the other party has the right to terminate the contract unilaterally, deduct all the deposit and
  ask to compensate all direct or indirect losses.


  Signatures


  Party A: SINGAPORE TAI-E CYBER-TECH PTE.LTD.
  Date: June 28th, 2020



  Party B: https://amlbitcoin.com/
  Date: June 28th, 2020
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                                                   ORDER FORM

This Order Form together with the Terms of Business (the ToB ) accessible at latoken.com form the
Agreement that is entered into by and between:
    (1) LiquiTrade Limited, a company incorporated under the laws of the Cayman Islands with
        enterprise registration certificate number 341867 and having its registered office at Corporate
        Management Solutions (Cayman) Ltd., P.O. Box 799, Two Artillery Court, 2nd Floor, 161
        Shedden Road, Grand Cayman KY1-1103 Cayman Islands ( Company ); and
    (2) ABTC Corp., a company incorporated under the laws ofUSA with enterprise registration
         number TBC and having its registered office at 7324 Southwest Freeway, Suite 600
         ( Customer ).
Terms not defined in this Order Form shall have the meaning ascribed to them in the ToB. In the event
of conflict between the provisions of the ToB and this Order Form, provisions in this Order Form shall
prevail.

This Order Form is dated 17/06/2020.

                                                         Services                               Fees
Services & Fees
                           1. Launch of trading of AML/BTC, AML/USDT on LATOKEN
                              Platform                                                      2 BTC + 1 BTC
                           2. Listing announcement through:                                  in AML coins
                              Newsletter to Company s user base (500K registered
                              users).
                              Social media announcement across all Company s media:
                              Telegram, Facebook, Twitter, Medium (250K subscribers
                              in total).
                           3. Issuance of a Private API Key
                           4. Support: liquidity support, consultations, marketing
                              consultations, general Q&A
                           5. Referral program (bonus in BTC/USDT/ETH or tokens)

                           Liquidity support for a 14-day period (optional service            Included
                           provided by Company s partners).


                           Native blockchain implementation.                                  Included



                           A    pitching     slot   at     BEF      online   roadshow   -     Included
                           https://bef.latoken.com/




Order form to the ToB, last revised January 2020                                              Page 1 of 4
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                    Banner placement at the center of LATOKEN Platform s             Not purchased
                    homepage (1m visitors per month) for [ ] days


                    Airdrop: page setup, promotion (Featured Placement on the        Not purchased
                    Main Platforms, Standard Placement on Extended Platforms,
                    social media announcements across all Company s media),
                    KYC verification, token distribution.

Payment of Fees     Payable in 3 parts:
                            0.5 BTC fee is payable to the Company s wallet by 30/06/2020 to start
                            the integration process
                            0.5 BTC + 1 BTC in AML coins fee is payable to the Company s wallet in
                            3 (three) Business Days after the integration process is completed and
                            the coin is listed*
                            1 BTC fee is payable to the Company s wallet after 6 months from the
                            listing
                   *The Company will integrate and list AML coin, the Customer will be able to check
                   the trading functionality, but AML coin will be hidden from the main trading desk
                   until the Customer pays the second fee (0.5 BTC + 1 BTC in AML). After the
                   second payment the Company will display AML coin on the main trading desk and
                   all of the Company s users would be able to trade it.
Token               Token Name: AML Bitcoin
                    Blockchain type: HyperLedger Fabric

Company s wallet    BTC: 16PsKmerMCUtmGvzZPTqabjpxg3cN3Zu4g
                    ETH: 0xA33d2e3987020158321919E2046a641a388CC03D

Terms of Business https://cdn-new.latoken.com/common/files/tob-secondary-221019.pdf
(ToB)
                  https://cdn-new.latoken.com/common/files/tob-primary-221019.pdf

E-mails for notices If to Company:
                    To: sergey.kostrikov@latoken.com
                    with a copy to: listings@latoken.com


                    If to Customer:
                    To: ceo@amlbitcoin.com

Restricted          No citizen or resident of a country listed under section Restricted Persons of
jurisdictions       the ToB is permitted to participate in the Token Sale.
                   https://amlbitcoin.com/
Website


Listing             Customer commits to initiate and maintain market making service for a 14-day
Special Terms       period (internal, 3rd-party provider, Company s partners) to target a min. 20 bps
                    bid/ask spread since the trading launch. No fees paid by Customer will be
                    refunded in case of suspension or cancellation of Services.

Blockchain          Customer commits to provide all information described in Annex A to Company.
implementation
Special Terms




                                                                                       Page 2 of 4
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Other Special
                              [This line is intentionally left blank]
terms




                                      ABTC Corp.


                                      By: ______________________


                                      Marcus Andrade




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                                          ANNEX A
                                  Blockchain Implementation


1. General Information
1.1. Blockchain description, distinctive features
1.2. All available source code repositories
1.3. For blockchain forks - Original project name and its version or tag
1.4. Recommendations for integration

2. Deposits
2.1. Dockerfile for building and running an RPC node (Base system Ubuntu 18.04)
2.2. Dockerfile with an application that syncs blockchain into a database
2.3. Code sample for address generation (private keyand derived address)

3. Withdrawals:
3.1. Code samples (node-js) for
3.1.1. Preparing raw transaction data (gathering required transaction parameters from the
blockchain)
3.1.2. Generation raw transaction (combining data into a data structure,serializing into a raw
transaction)
3.1.3. Signing and broadcasting raw transaction
3.1.4. Getting list of transactions by user address




                                                   ABTC Corp.


                                                   By: ______________________


                                                   Marcus Andrade




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                 Exrates online application agreement

Upon the friendly negotiation between Party A and Party B,both parties hereto covenant
and agree as follows: About Party A's application for the transaction on the currency of
Party B on the Exrates LTD trading website (https://exrates.me ) of Party B
                                                                     NO.


Party A       NAC FOUNDATION, LLC
Add:             7495 W. Azure Dr. Suite 110, Las Vegas, NV 89130
Tel         361-244-0156


Party B (PLATFORM)          EXRATES LTD
Add      99 Foch ave, Staten Island, NY 10305, USA
Tel    +19734742145


1. Party A has the basic conditions
  1. This digital currency has a certain technical background, and a more established
  blockchain application has emerged
  2. A complete team of staff, and also have to ensure that digital currency 3-5 years of
  long-term maintenance operation of the technical marketing team;


2. Application process
      1 Fill in the online application agreement and send to email listing@exrates.top
      2 The approved currency will be contacted by email, and in-depth discussion on the
   feasibility of the digital currency
      3 After both sides reached the initial settlement plan, Party A proceed with the
   comission payment to Party B official account
      4 After receiving the payment on its account Party B proceed with listining of Party A
   currency.


3. Required technical data
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1) General description of technology - whether it is blockchain-driven or not, smart
contract support etc.
Please review the attachment.
2) Full node - where to download, how to install and run on Windows and Linux (Ubuntu),
documented command line arguments. Please provide us with your github username
so that we can send you an invitation link to our source code.
3) Detailed documentation for node's API, primarily following methods:
- create new address (account)
- send transaction
- get transaction by ID
- find all transactions by parameters - receiver address (account), time period,
starting/ending block etc
Please review the attachment
4) Whether there is a system of notifications on new block or incoming transaction (like in
Bitcoin). If there is - documentation on that system
Please review the attachment.
5) Available production-ready solutions (libraries/SDK) for different programming
languages. Everything listed on GitHub.
6) Access to testnet, faucets or other ways to receive test coins
7) Links to GitHub and supporting community - slack, reddit, gitter etc.
Please provide us with your GitHub address so that we can give you access to it.


4. Remove rules
Please note that if the digital currency on the Exrates trading network is in one of the
following conditions, we will notify its development team to make improvements. If there is
any improvement or inaction, we will announce and suspend the transaction in advance
and suspend the digital currency Species
1   The official team disbanded, or no longer maintained the currency
2   The digital currency is sluggish, no user transactions
3   The wallet has technical problems that affect its trading and operations for the long
term
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4   The digital currency development team suspected of malicious trader, sell lots and
other fraud, such acts will severely punish the currency team


5. Supplementary rules
1   This agreement shall take effect from the date of signing and sealing by both parties.
2) During the operation of the project, if one of the parties disagrees with some of the
provisions, it shall be subject to the mutual agreement of the other party for amendment to
take effect
3   Without the permission of Party B, Party A shall not disclose to third parties the
specific content of this agreement and related matters, all based on the announcement of
Party B's trading website.


6. Payment details
1. Pay 3 bitcoins
BTC ADDRESS is 1AfhLKaQhk62KF6HAgAJdALvQM3jPRb9HP
2. We are ready to cooperate and consider special conditions based on your offer.


Please note :
The obligatory condition for listing on the Exrates exchange is the independent
maintenance of the coin liquidity from your side. We provide you the opportunity to be in a
role of market-maker on our exchange with zero
commission on trading operations. Therefore, we give you the opportunity for not only
maintaining the optimal liquidity of your token on the exchange, but also the possibility to
earn on market-making. In the addition,the spread is 0,5% (the order of determining the
maximum difference between the best price
for purchase proposals and the best price of offers for sale), which you must always keep
for optimal trading conditions.


Description: In order to secure the user's funds and normal investment, we will carefully
consider the next currency!
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Party A                               Party B
Signature                             Signature
Signing date :                        Signing date :
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M
02:03
Mushicj
yes ,I get

A
02:07
AmlBit
please check your WeChat
15 April 2018

M
21:35
Mushicj
hello
8 May 2018

M
22:56
Mushicj
You can sleep first, I will leave you a message
22:58
Your trading volume is too little now. You have been listed on IDAX for 5 days, but your trading volume is almost 0. My
company warned me so I must contact you.
22:58
One of the conditions of the list is to make a market.
23:00
If you cannot start the BOT immediately, you can use your multiple accounts to manually trade until your BOT is working.
23:00
This is very anxious for us, because at IDAX, your trading volume is almost 0, which is very ugly.

A
23:02
AmlBit
Hello
23:02
Not true
23:02
Check my account
23:02
monex247@gmail.com
23:02
I have been traveling everyday
23:03
The reason it is at 1btc is because of me. I have only been buying
23:04
Mushicj
Cancelled
23:04
Bot will be up and running soon
23:05
We are getting ready to also spend 20K USD a day on market-making

M
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AmlBit
Please allow 5 days at minimum then
23:57
I was told I would get up to three weeks

M
23:58
Mushicj
In reply to this message
This is absolutely not acceptable

A
23:59
AmlBit
I need to get things in place
23:59
I was told up to 3 weeks
23:59
I can do up to 5 days

M
23:59
Mushicj
You have a lot of 0 fee accounts, please start trading immediately, carry out some buy or sell, you can buy your own sell
orders

A
23:59
AmlBit
I will
23:59
I have been doing only buys
9 May 2018

A
00:00
AmlBit
I need to put people in place to do that

M
00:00
Mushicj
This will take 24 hours instead of 5 days

A
00:00
AmlBit
I'm traveling
00:00
I'm traveling
00:00
I arrive back in two days
00:00
I can put a team inCase
                   place 3:20-cr-00249-RS
                         to do it               Document 484-2        Filed 01/18/25     Page 72 of 116
M
00:01
Mushicj
I'm in a hurry

A
00:01
AmlBit
Just need a little time
00:01
So am i
00:01
I will get it done

M
00:01
Mushicj
Ah, I'm going crazy

A
00:01
AmlBit
If you are not going to give me the time I would not have made the payment and did the integration until after I had two
people in place
00:01
I am going crazy as well I just need what I was told I would get
00:02
You are making it easy and thank you for it for the zero fees

M
00:02
Mushicj
That IDAX first hide ABTC/BTC&ABTC/ETH?
00:02
2 days later, I will show abtc/BTC on the home page
00:03
ok?

A
00:04
AmlBit
There is no need to do that
00:05
I don't understand
00:05
No need to hide it
00:05
This is not right
00:05
I was told I could get up to 3 weeks.
00:05
I will have someone in place by 5 days
00:06
Hopefully I can doCase
                     it in 33:20-cr-00249-RS Document 484-2 Filed 01/18/25 Page 73 of 116
00:06
DO NOT HIDE
00:06
It will cause financial damage
00:07
You chased me down for payment knowing I needed time. You can at least honor your word at the beginning and allow
time.

M
00:23
Mushicj
Why don't you trade manually?
00:23
this is very simple
00:23
And you will not lose anything

M
01:40
Mushicj
Our technology developers have developed a simple BOT. The trading assistant software that sets the ratio of buying and
selling and the price and random time in advance can reduce the manual operation steps to a certain extent and keep the K
line and price stable. Can this help you?

A
06:43
AmlBit
Yes it can
06:43
I have a few calls this morning, if you international calls or some of them videos that I will have during the manual buying
and selling

M
06:46
Mushicj
Release.rar
5.1 MB

A
07:30
AmlBit
What is that
07:30
It won't open
07:31
Sorry for misspellings, I was using voice chat

M
20:06
Mushicj
This is the transaction assistant software.
20:06
He is a compressed file
20:06
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    Service profile                                            Service Content                                                 Service Period                      Price /BTC             Option

                            Technical Service     Wallet Technology Integration, Contract Address Update, Mainnet
                                                                                                                           Till the cooperation ends                   2btc
                                                    Token Swap, Wallet Server Maintenance

                               Security Service The wallet safety service supported by the third party security
      Basic Service          company/the security support for the user's account/Government standardized non               Till the cooperation ends                  0.5btc
                                                      disclosure agreement support

                                                              Basic platform service                                       Till the cooperation ends                  0.5btc

                                                                                                                                                                                         btc
                                                Online transaction pairs btc     eth     usdt                              Till the cooperation ends                1btc/pair            eth
                                                                                                                                                                                         usdt
   Transaction Service
                           API accesses/data server preparation / security strategy preparation/grant permission of
                                                                                                                           Till the cooperation ends                  0.5btc
                             making deposite/grant permission of withdrawing/ grant permission of transaction

     Open Trading                                 open at most 2 trading accounts according to
                                                                                                                           Till the cooperation ends                  1btc
       Account                                            transaction pairs with 0 fee

   Public Blockchain
                                                   Public blockchain technology docking service                            Till the cooperation ends                  1btc
 Docking Non-erc20


                                                  Announcement Home Page Banner          Poster                            Till the cooperation ends                   free

                           List on LBank with online announcement including: official website,
                           Twitter Facebook Reddit LinkedIn Medium Weibo WeChat groups                     Telegram        Till the cooperation ends                   free
                           communities etc
Marketing Promotion Plan
                                                                                                                              Till the cooperation
                           all-Media Services    External global blockchain media (around 50 mediums)                       ends extra charge for                 Floating Price
                                                                                                                            foreign media supports

                                                                                                                                    1-3
                                                            Global roadshow services                                                                               0.5 btc/once
                                                                                                                                   1-3 Days


                              Independent Campaign plan airdrop/ trading/Community joint livestream/AMA)                   Till the cooperation ends              Activity token

  Promotional Activity
                                                                                                                              Till the cooperation
                                      exclusive marketing plan : campaign/ media outreach/ community
                                                                                                                            ends extra charge for                 Floating Price
                                                             announcement etc
                                                                                                                            foreign media supports

   After-Sales Service                  24 x 7 online live chat and sophisticated project follow-up team                   Till the cooperation ends                 0.5 btc


 Community Building &          Community Built up Community intelligence management             Community Warm
                                                                                                                                  7-30 Days                     10,000users/0.2btc
   Operation Services                                up Telegram/Wechat

                           The project party provides necessary btc/eth/usdt and project tokens or coins for our
Market Making Service of                                                                                                                                  0.5btc/pm (At most 2 trading
                         technical team to conduct market-making in order to enable a smooth flow of the market            Till the cooperation ends
      third-party                                                                                                                                             pair for mm services)
                                                    and bring more investors on board.

         Total



        Remark                                                                     Blue zone is a required option, and the transaction pairs must choose one.
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 76 of 116
To:        Melissa Foteh[mfoteh@republiconeexhibitions.com]
Cc:                 Case 3:20-cr-00249-RS Jack
           Marcus Andrade[ceo@amlbitcoin.com];     Document   484-2 Filed 01/18/25
                                                      Abramoff[jack@abramoff.com]               Page 77 of 116
From:      Richard Naimer[richard@dit.network]
Sent:      Sun 6/10/2018 10:45:47 AM (UTC)
Subject:   RE: NDA / Agreement / Listing with Pro BTC

 Yup, indeed he is trying to push us into the engagement rather aggressively which I too am not keen about.
 But in any case this NDA with the date of March is very much in our benefit.

 We ll decide shortly if and how to proceed.

 Thanks, Richard

 From: Melissa Foteh [mailto:mfoteh@republiconeexhibitions.com]
 Sent: 52:17 2018     08
 To: Richard Naimer
 Cc: Marcus Andrade
 Subject: RE: NDA / Agreement / Listing with Pro BTC

 Hi Richard,

 I don t have Marcus signature to drop into the document. I added Marcus name in a script font. Since the document was scanned
 due to Geoff s signature, Adobe was not recognizing the date text for Marcus, so I crossed it out and added the date in script to
 make it look natural, instead of doing a type overlay with today s date, as Geoff dated the NDA on May 30 th. Please let me know if
 this would suffice, or if anything else is needed for this.

 On a separate note, I ve received a lot of messages from Geoff via Telegram in the past 12 hours. Within this time frame, he s
 pinged me twice about the TopBTC form. Last message regarding this was an hour ago stating that he hasn t heard from you and
 asking me if I knew were you were and if anyone else can fill out the form. The thing about this is Geoff just sent the TopBTC form
 to us 12 hours ago. I understand there s an urgency, however I don t see any realism on his behalf regarding his time expectations
 for responses; this has shown to be a trend with him. Simply pointing this out so that you re aware and in case knowing this helps
 minimize any issues down the line.

 Best,
 Melissa

 From: Richard Naimer <richard@dit.network>
 Sent: Friday, June 8, 2018 4:30 AM
 To: Melissa Foteh <mfoteh@republiconeexhibitions.com>
 Cc: Marcus Andrade <ceo@amlbitcoin.com>
 Subject: RE: NDA / Agreement / Listing with Pro BTC

 So I suggest we go ahead and co sign so we have him locked in.

 From: Melissa Foteh [mailto:mfoteh@republiconeexhibitions.com]
 Sent: 27:06 2018     08
 To: Richard Naimer
 Cc: Marcus Andrade
 Subject: RE: NDA / Agreement / Listing with Pro BTC

 Hi Richard,

 Yes, this is the correct NDA.

 Best,
 Melissa

 From: Richard Naimer <richard@dit.network>
 Sent: Thursday, June 7, 2018 10:38 AM
To: Melissa Foteh <mfoteh@republiconeexhibitions.com>
                  Case 3:20-cr-00249-RS Document 484-2                      Filed 01/18/25   Page 78 of 116
Cc: Marcus Andrade <ceo@amlbitcoin.com>
Subject: FW: NDA / Agreement / Listing with Pro BTC

Melissa, just to make sure, this NDA is one you prepared and sent to him?

Is it is your version, let s get it signed so we lock him down.

Just stating the obvious, we don t want to sign the other one.

Thanks, Richard

From: Geoffroy Ira [mailto:geoffroy.ira@gmail.com]
Sent: 57:08 2018     07
To: Richard Naimer
Cc: Marcus Andrade; Melissa Foteh
Subject: NDA / Agreement / Listing with Pro BTC

Hi Richard & Melissa

You will find enclosed the

1/ The Non disclosure Agreement signed by me.
- To be signed by Marcus as stated.

2/The statement of work also signed by me to initiate the listing with Pro BTC via Mirafox Ltd ( Exact name of the
company that provides this sevices)

- Waiting now for your confirmation to send the fees to Mirafox so that we can kick start.

-Then, Pro BTC will come back with an estimates in term of pricing to implement AML BTC.
- Time line implementation : 2 Weeks.
- Pro BTC estimates to list AML BTC
20btc + 20btc in tokens - confirmation on pricing in course.


------------------------------------------------------

Once we re done with this sign off, let s proceed to the same with the Market Making services.
Target - 8th of June

Waiting for your reply.

Best

Geoff




On Wed, Jun 6, 2018, 01:52 Geoffroy Ira <geoffroy.ira@gmail.com> wrote:
 Hi Richard, hi everyone.

 I think it's a sensible approach and you can count on me.

 I'll handle this relationship with Platinum and the Crypto Exchange " TOP BTC from A to Z.
                  Case 3:20-cr-00249-RS Document 484-2 Filed 01/18/25 Page 79 of 116
      1. You will find enclosed the compensation proposal.
      2. You will find enclosed the contract with Mirafox"Working with Platinum" for TOP BTC.
      3. I ll provide the contract on the Market Making a.s.a.p with a proposal to do it for two Crypto exchanges " TOP
      BTC and IDAX"

---------------------------------------------------
My current SCB contract is under the Singaporean law, therefore, If agreed, you will find enclosed the reference of a
Bank account in the US. "Interractive Brokers" via CITIBANK, therefore it s easier for everyone and this remains in the
US.
I'll send back the NDA to Melissa if you fine with compensation pre-agreement.

----------------------------------------------------

Now, my Employer knows that I have an Outside Business interrest with NAC Foundation.

      1. Therefore, I think it is good for all of us that I keep this vague title of "Adviser" so that I can pursue this
      mission.
      2. I do expect to have the title of Adviser on your website with biography as discussed with Marcus and Melissa
      the past months so that I can officially promote AML BITCOIN in my network and folks can have a look at it.
      This will allow them to verify my double linkage with AML BTC and the Banking Industry
      3. From there, I ll create a Business card with "NAC Foundation with the brand AML Bitcoin and the address in
      the US / Title : Advisor if you re fine with it.

------------------------------------------------------------
Payment of the intermediary - Mirafox Limited - Listing TOP BTC. - Details available in the doc enclosed - Contract
with Dan / Mirafox.

I ll ask the team to amend the date from 25 May to June 8th.

1.1 Full list of services.
1. The Client shall pay to list on the 1 Exchange with pricing mentioned below: TOPBTC: 0.5 BTC of «admin fee» +
Payment to TOPBTC 9btc and 9btc in tokens of the Client + success fee to Mirafox (1btc + $10k in tokens of the Client)
incl. Free twitter campaign from HITBTC
2. The admin fee must be done prior to all work commence.
3. The Client shall pay the success fee for provided services within 2 (two) business days from the day the token listed on
the Exchange.

4. In case of the Exchange refusal then only «admin fee» is not refundable to the Client.

5. The Client shall send payments to TopBTC according with The Exchanges rules to The Exchange company addresses
(accounts) directly.

The Company does not take any hidden commissions (fees).

ALL PAYMENTS CAN BE DONE IN BTC OR ETH:
BTC ADDRESS: 32KceBJeu5QF85aUdX5fDJ5Kh6hN5Q52sK

ETH ADDRESS: 0xFACFa843e3E6d3AFf32aCed21dA1118509cE8610

On the Market Making

You will find all the details into the document enclosed - Pre Agreement advisory.

As you will see in the document, I m suggesting to use there services for IDAX and Top BTC for the time being.
I have requestedCase
                them to give me a contract based
                     3:20-cr-00249-RS            on this usage
                                             Document    484-2"MM in two
                                                                Filed    Crypto exchanges"
                                                                      01/18/25    Page 80 of 116
The info I have for now is as following.


             -   They charge payment for each trading pair regardless on which exchange it is traded. Could be three pairs on one
             exchange or three pairs on three different exchanges. Monthly retainer:

             -   1 pair    15k usd,

             -   2 pairs   19k usd,
                 3 pairs   22k.

Best regards

Geoff




On 5 June 2018 at 19:07, Richard Naimer <richard@dit.network> wrote:
Geoff hi,

Under the circumstances, maybe best is if we start the process in reverse, i.e. if we start the relationship initially on a mission
based understanding and thereafter, once we get better acquainted and an ongoing working mode we can proceed to an advisory
aspect.

Based upon our discussion last week, you are at this time aware of the challenges we wish to address. Therefore, may I suggest
that you send me a proposal for the achievement of each of the current issues, primarily, for listing on a major exchange and
market making services and the contingency based compensation for each of them.
From my perspective, feel free to proceed to implement via Platinum and/or independently, with the understanding that you
would be the point of interface and responsible for the process.

Thanks and best regards,
Richard

From: Geoffroy Ira [mailto:geoffroy.ira@gmail.com]
Sent: 09:16 2018     01
To: Richard Naimer
Cc: Marcus Andrade
Subject: Re: Pre-Agreement

Hi Richard

I'm happy to clarify some aspects of your points as there is clearly a misunderstanding.

First of all, I've never been requested to introduce AML BTC to companies nor any Crypto exchanges in first place, but
I' m supportive to do so as you sollicited me on this last week, which is why I introduced you this week to a team to get
listed within two weeks in " TOP BTC".

- My job as an Adviser with AML BTC as we discussed in Jan 2018 with Marcus was more to give my opinion
on the ongoing AML BTC project, feeling with investors, supporters and to leverage on my current role with
my Bank as I have an holistic view and network
"having 80 000 clients Multi Segment, FI/Fintech/Corpo dealing with AML/KYC/CFT topics and new Policy
implementation", and to socialise AML BTC Brand in the network/ local media when it will be the right time for
AML BTC.
Marcus suggested to grant me 2000AML BTC/Months for that.
                Case 3:20-cr-00249-RS Document 484-2 Filed 01/18/25 Page 81 of 116
So If I keep the same role as Adviser "2000 AML BTC/month, I'm fine and I'm just waiting to receive the
compensation document so that I sign the NDA.

Now, when it comes to develop NAC/AML Business with :

-Listing on Crypto Exchange
-Meet up with Banks, Institutionnal, Family office, Hedge Fund in Asia
-Roll out technology accross the region
-Recruitment

Then, it is not a simple role of Adviser.

Either way I'm fine, just waiting from AML Team to clarify the exact role as well as
contract/ compensation agreement.

Best regards

Geoff

On Thu, May 31, 2018, 23:59 Richard Naimer <richard@dit.network> wrote:
Geoff hi,

I looked through the proposed document and I must say I have a whole bunch of reservations.

To pint out just a few - it seems odd to me to request a success fee on the introduction of a facilitator and seems even more out
of context to me to request a success fee for a possible success of that facilitator, who himself is requesting a success fee.

Add to that the context of an advisor who would be receiving a monthly retainer and is being compensated to basically fill that
exact function. The accumulation does not seem reasonable to me.

Feel free to correct me if I am wrong.

Thanks, Richard

From: Geoffroy Ira [mailto:geoffroy.ira@gmail.com]
Sent: 58:16 2018     30
To: Richard Naimer
Subject: Pre-Agreement

Hi Richard

As conversed, you will find enclosed a pre agreement that I'd like to review with you.
I've listed the type of work that I can do for you and AML BTC and the compensation I propose.

1/ Let me know your thought.

2/ On the long run, my interrest is to be more and more :

- Involved in the implementation of this disruptive project.

- To develop the Business in the Asian Region.

- To open the door to the Banking Industry, but also to discuss with Regulatory Bodies in the APAC region and to
impose AML BITCOIN and affiliated patent as the " Benchmark" to be used.

-to open a Branch in Singapore and or to help to basically expand the brand AML BTC in the region, and/or to recruit
staff.         Case 3:20-cr-00249-RS          Document 484-2         Filed 01/18/25   Page 82 of 116
We can have this discussion later on once it is the right time for you.

Best

Geoff
       Case 3:20-cr-00249-RS        Document 484-2        Filed 01/18/25      Page 83 of 116

GEOFFROY IRA

Nationality : French
19 the Inglewood
Postal code 575048
Mobile Phone : 96478070
Married. One child
geoffroy.ira@gmail.com



                                    EXECUTIVE SUMMARY

   GLOBAL PROJECT IMPLEMENTATION|ONBOARDING SUPERVISION| BUSINESS DEVELOPMENT

Extensive experience as Multi Segment advisor in the wholesale Banking industry with a primary focus
on Global Banking space, large corporates and Fintech companies.
My experiences as Director for Global Policy Implementation, Client Due Diligence Governance & Client
Onboarding Head will help you to drive the expansion to the APAC Region.

                                       AREAS OF EXPERTISE


  Network with Multi Business         Multi Segment Advisory            Innovation
 Segment                              Team Management                   Risk Management
  Global Policy Implementation        Training management               Multi product
  APAC regulation/Compliance




                                 HOW CAN I HELP YOU FURTHER ?

NETWORK IN THE REGION

I have already started to connect Richard with Professionnals who have great experience in
introducing new project to Crypto Exchange. My contacts have exclusive relationship with
Exchanges such as HitBTC /Binance but not only. Some of them live in Singapore, and
others in Thailand, Japan and the rest of the region.

I have a solid network in the Banking Industry and regulatory space. It s a small world and
I can help to arrange meeting. The ideal scenario would be for me to potentially open an
AML BTC Branch in Singapore to develop this. I could of course kick start with Standard
Chartered Bank / RBS /DBS /BNP Paribas / Credit Agricole / Credit Suisse / HSBC but I
pretty much know someone useful in every Banks in the region.
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GEOFFROY IRA



HIT BTC = TIME OF TURBULENCE

SINCE THE ICO, WE HAVE BEEN LISTED IN THREE STOCK EXCHANGES.

Unfortunately, the volume are not extremely high in IDAX and co, therefore this may affect the image of
success behind AML BITCOIN Project. The Crypto exchange having the biggest Liquidity may think
that implementing AML BTC will be long with a ratio/profitability not extremely profitable for them.
If The volume of transaction is not good, they won t make money and they are just looking for that , like
lot of tradionnal regulated exchange ( Same same).

      I can help to find the right decision maker to change this.
      I can also fly when required in APAC to meet up with specific layers, regulators, exchanges.
      I can monitor/control/advise the marketing in the region and to find the right partner for (Market
Making / Marketing and co)
      I can also help to develop the attraction with AML Bitcoin.

GOOD ICO DOESN T MEAN SAVED FOR LIFE.

RISE AND FUN DELISTED FROM BITTREX

The ICO performed and money raised with these project were pretty solid but, the market sentiment
started to go down, the volume were low and the communication with the Crypto exchange and
investors was not clear. As a result, Bittrex decided to de list them.

I m happy to be involved in this in the region to provide regular update and to meet up with them when
necessary, so that we have good stimulation for AML BTC IN America, Europe ?, and ASIA.


MEETING WITH THE BANKING INDUSTRY

I can help with this but I will need to have the same level of information as the others Advisers and
Business developer, which mean to participate to conference call etc.

I would need to know if there is a plan to create a Branch or a REP Office in APAC Region. ( Singapore is
ideal) as we can pilot everything in ASIA from there.

Do you plan to recruit someone full time ? if so, is there a specific Budget, Annual salary range.

As adviser ( still employed by SCB BANK)

I CAN T BE PAID IN FIAT FOR NOW (AS I M WORKING FULL TIME FOR STANDARD CHARTERED)
BUT I ACCEPT AML BTC AND WHY NOT, STOCK /SHARES OF NAC FOUNDATION.

I hope this few words will help you to have a better view on what we can do together. I strongly believe
in that project, and you know my involvement as a supporter, but I can do much better as I m graviting
in this industry ( Banking industry and regulatory space ) since 10 years + and I hope you will one day
penetrate this market.
       Case 3:20-cr-00249-RS           Document 484-2         Filed 01/18/25       Page 85 of 116

GEOFFROY IRA
 but I also have a Family and a son 3,5 years old, so I need to have a minimum of security when it comes
to develop outside partnership, so it is critical for me to have a clear NDA and contract to build trust and
momentum between us.
     Case 3:20-cr-00249-RS              Document 484-2            Filed 01/18/25           Page 86 of 116

     May 2018 Pre-Agreement - Compensation salary proposal -
     Adviser




                                                                             May 26th 2018

     Dear Marcus and team

     By this pre-agreement, I commit to promote AML BTC as adviser and ;

             To establish in the region AML BTC as a unique value for the industry
             To create a solid and growing reputation dynamic
             To advise on the best of my Knowledge AML BTC Team, NAC Foundation and potential new
             customers.
             To expand the network for AML BTC and to develop AML BTC Brand with Exchanges.
             To search for the best Market Making services in the region.

     As a Pre-Agreement, NAC Foundation is committed to compensate the adviser as defined below
     until further notice.

     This pre-agreement is applicable until an official Contract is finalised based on a consensus of
     both the adviser and NAC Foundation



                  Advisor / May 2018 Onward                                            AML BTC / $USD


     Advisory          KYC/AML/Network/consultation on new project/                   2000 AML BTC/Months
                       Subject matter expert in the region / AML BTC
                       Representitive.

                                                                               10 000 AML BTC / for a Crypto
Introduction to
                                                                               exchange with 100 Millions US $ /
Crypto Exchange        to select the right partner as well as follow up        daily volume. Ex = TOP BTC introduction
                       with the Exchange. Meeting /Pending issues              success = 10 000 AMLBTC

Market Making post
Crypto Exchange roll                                                           5000 AML BTC / For an exchange
out                    to select the right partner as well as follow up to     having 100 Millions US $ / daily
                       do the Market making.                                   volume
  Case 3:20-cr-00249-RS         Document 484-2           Filed 01/18/25     Page 87 of 116

 May 2018 Pre-Agreement - Compensation salary proposal -
 Adviser
   Specific     To sort out specific issues with Crypto exchange          200$ USD/ Per hour.
investigation   or Regulator pending that occurred before April
                2018

   Travel       Allowance for travel in the region APAC when        TBD with NAC Foundation policy
                required. Hotel /flight / meal




   NAC:

   Dated: May _____ , 2018

                                                NAC Foundation, LLC




                                                                               By: Marcus
                                               Andrade

                                               Its: President and Chief Executive Officer


 Adviser:

   Dated: May _____ , 2018
                                                _
                                             Geoffroy Ira
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 88 of 116
7/4/2019         Case 3:20-cr-00249-RS                          Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 89 of 116


                                                                                              monex247 <monex247@gmail.com>



  fees
  23 messages

  monex247 <monex247@gmail.com>                                                                        Wed, Aug 15, 2018 at 2:43 PM
  To: info@tradedex.net

    How much do you charge to assist in the coinmarketcap listing?

    Thanks,

    Marcus


  Nicholas Kross <info@tradedex.net>                                                                   Wed, Aug 15, 2018 at 6:46 PM
  To: monex247 <monex247@gmail.com>

    Hi Marcus,

    Below are the packages we offer, please select one.


    Marke ng and Liquidity Service Packages
         1.7 BTC Silver or $10,000 Package Includes:
                      Listing: List your coin on Tradedex or Tradedex Partner Exchange.

                      Pairing: BTC pairing

                      Development: 3rd party API integration with Coin Market Cap. Due to back
                      log our next spot is available is Oct. 8th 2018. You will need $100K a day
                      volume for 30 days for CMC to accept you. This will be provided till you get
                      listed.
                      ***Other options: We have an Hong Kong exchange who can take your project now but the rate
                      is at 4BTC. If you want a CMC right away then this would be your best option, otherwise we can
                      start Oct. 8th if you reserve your spot now. The other exchange has a spot available for liquidity
                      services now and takes about 3 days to get started.

                      Marketing: Start trading after your ICO and have a minimum of $100,000
                      volume right out the gate for a term of 30 days.
                      No Minimum Trading Volume: Most exchanges will delist your coin if a minimum
                      trading volume is not met, TradeDex will not delist your coin as long as the monthly
                      service fee of $350 is paid.




              4 BTC Gold Package Includes:
                      Listing: List your coin on two Tradedex Partner Exchanges.                        (1.5 BTC value alone)



https://mail.google.com/mail/u/1?ik=94b085dbec&view=pt&search=all&permthid=thread-a%3Ammiai-r2417573846002038345&simpl=msg-a%3As%3   1/7
7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 90 of 116
                           Pairing: BTC and Exchange Coin pairing, allowing for easy purchases between all
                           coins (0.5 BTC value)

                           Development: 3rd party API integration with Coin Market Cap. Due to back log our
                           next spot is available is Oct. 8th 2018 (1 BTC Value)

                           Marketing: Start trading on Oct 8th, 2018 and have a minimum of $150,000
                           up to $250,000 volume right out the gate for 60 days. Nothing is worse than
                           a coin with no volume after an ICO (4 BTC value).

                           ***Other options: We have an Hong Kong exchange who can take your
                           project now but the rate is at 6.5 BTC. If you want a CMC right away then
                           this would be your best option, otherwise we can start Oct. 8th if you reserve
                           your spot now.
                           Email Marketing: We will also send out a fully customized Newsletter for
                           your company to all our 200,000 crypto trader.
                           No Minimum Trading Volume: Most exchanges will delist your coin if a minimum
                           trading volume is not met, TradeDex will not delist your coin as long as the monthly
                           service fee of $350 is paid.


    Just email us back that you are interested and we will send you the forms to complete. Please reserve your
    spot now if you need any of these services as we are seeing 30-60 days back logs. The demand for CMC
    lis ngs is growing so sooner we know the be er.

    Regards,

    TradeDex Team




    [Quoted text hidden]



  monex247 <monex247@gmail.com>                                                                        Wed, Aug 15, 2018 at 8:23 PM
  To: Nicholas Kross <info@tradedex.net>

    Can we setup a call?

    Thanks,

    Marcus
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                   Wed, Aug 15, 2018 at 8:26 PM
  To: monex247 <monex247@gmail.com>

    Sure you can find me on Skype: info@tradedex.net,

    send me a msg and available schedule for this week.


https://mail.google.com/mail/u/1?ik=94b085dbec&view=pt&search=all&permthid=thread-a%3Ammiai-r2417573846002038345&simpl=msg-a%3As%3   2/7
7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 91 of 116
    Talk with you,

    Nick
    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                       Wed, Aug 15, 2018 at 8:32 PM
  To: Nicholas Kross <info@tradedex.net>

    I will add you know
    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                       Wed, Aug 15, 2018 at 8:34 PM
  To: Nicholas Kross <info@tradedex.net>

    I couldn't find you. Add me.

    Monex247
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                   Wed, Aug 15, 2018 at 9:58 PM
  To: monex247 <monex247@gmail.com>

    I sent you an invite
    [Quoted text hidden]



  monex247 <monex247@gmail.com>                                                                       Wed, Aug 15, 2018 at 10:00 PM
  To: Nicholas Kross <info@tradedex.net>

    just added you. please confirm
    [Quoted text hidden]



  monex247 <monex247@gmail.com>                                                                        Wed, Aug 22, 2018 at 9:16 PM
  To: Nicholas Kross <info@tradedex.net>

    Test
    [Quoted text hidden]



  monex247 <monex247@gmail.com>                                                                        Wed, Aug 22, 2018 at 9:18 PM
  To: Nicholas Kross <info@tradedex.net>

    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                    Thu, Aug 23, 2018 at 3:15 PM
  To: monex247 <monex247@gmail.com>

    Hi Marcus,

    Below is our QDax- New Coin Listing Questionnaire and NDA

    Please review and sign

    Best
    Nick




    [Quoted text hidden]
https://mail.google.com/mail/u/1?ik=94b085dbec&view=pt&search=all&permthid=thread-a%3Ammiai-r2417573846002038345&simpl=msg-a%3As%3   3/7
7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 92 of 116

     2 attachments
           QDax Coin Listing Questionnaire.docx
           67K
           QDAX NDA Coin Listing.pdf
           652K


  monex247 <monex247@gmail.com>                                                                         Thu, Aug 23, 2018 at 4:22 PM
  To: Nicholas Kross <info@tradedex.net>
  Cc: Marcus Andrade <ceo@amlbitcoin.com>


    Hello Nick,

    Please take a look at the attachments. Lets have a call.

    Thanks,

    Marcus
    [Quoted text hidden]


     3 attachments
           LEGAL OPINIION-Letter_to_Colin_Luce_ -_Uphold (1) (1).PDF
           262K
           QDAX NDA Coin Listing_Signed.pdf
           794K
           QDax Coin Listing Questionnaire.docx
           71K


  monex247 <monex247@gmail.com>                                                                         Thu, Aug 23, 2018 at 4:37 PM
  To: Nicholas Kross <info@tradedex.net>
  Cc: Marcus Andrade <ceo@amlbitcoin.com>

    Forgot to add the following document.

    Thanks,

    Marcus
    [Quoted text hidden]


           AML TOKEN COIN SPECIFICATIONS (ABTC).pdf
           37K


  Nicholas Kross <info@tradedex.net>                                                                    Tue, Jan 22, 2019 at 5:48 PM
  To: monex247 <monex247@gmail.com>

    Hi Marcus,

    Great news, TradeDex has merged with several exchanges and 1 of of them is on CMC. They did $29 million in trading
    volume in the last 24 hours and we can get you listed. If you require Market Making services it can also be provided at a
    very decent price.

    Just advise.

    Cheers, Nick


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7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 93 of 116




    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                        Tue, Jan 22, 2019 at 5:52 PM
  To: Nicholas Kross <info@tradedex.net>

    Hello Nick,

    I would like to hear more about your mergers and listing fees.

    Thanks,

    Marcus
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                    Tue, Jan 22, 2019 at 6:27 PM
  To: Monex 247 <monex247@gmail.com>

    Hi Marcus,

    Advise what services and volume you need so I can price it out for you.

    Cheers, Nick




    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                        Tue, Jan 22, 2019 at 6:35 PM
  To: Nicholas Kross <info@tradedex.net>

    100k a day in volume.

    What is listing fee with only one market?
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                    Tue, Jan 22, 2019 at 7:11 PM
  To: Monex 247 <monex247@gmail.com>

    Hi Marcus,

    The rate for 100K of daily volume is $7900 a month
    The most popular package is 250K to 500K of daily volume for $9,800 a month

    You can select higher packages also.

    Cheers, Nick




    [Quoted text hidden]




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7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 94 of 116
  Nicholas Kross <info@tradedex.net>                                                                    Thu, Jan 24, 2019 at 1:39 PM
  To: Monex 247 <monex247@gmail.com>

    Hi Marcus,

    I would advice you to list on an exchange that has enough volume and traf fic, to help you grow your community. We can
    help you with market making and liquidity.

    Let us know when you want to deploy your coin on the exchange, and how much Market Making you will require?

    Fyi, our exchange just passed $42,000,000 in daily volume, you can check the volume on CMC: https://coinmarketcap.
    com/exchanges/iquant/

    Nick




    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                         Fri, Jan 25, 2019 at 4:33 AM
  To: Nicholas Kross <info@tradedex.net>

    Hello Nicholas,

    Lets schedule a call. Do you still use skype?

    Thanks,
    Marcus
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                     Fri, Jan 25, 2019 at 2:05 PM
  To: monex247 <monex247@gmail.com>

    Hi Marcus,

    CMC has the following requirements:

    Your coin needs to be listed on 2 exchanges
    You need at least $100K a day in trading volume.

    We can get you the volume and the exchanges but we can't control how long the CMC process is. W e have seen coins
    do it in 30 days and some have taken 4-6 months.
    However at the end your project will not gain any traction without a CMC listing and their massive audience and credibility .

    We can get you listed on Iquant Exchange in Hong Kong, they are listed on CMC. Below is the price they of fer for Market
    Making.

    For MM here is the special pricing IQT we can offer - https://www.5iqt.org, you can also email us at - info@5iquant.org
    $100K to $200K daily volume - $6,500 a month
    $200K to $500K daily volume - $7,800 a month

    If you select any MM services for a 3 month term they will cover the $3,500 listing fee. You should do MM for 3 months to
    make sure you get the CMC listing. Advise what package you want so we can start the on-boarding process.

    Then we have other partner exchanges on CMC we can get you listed on the cost is anywhere from 1BTC to 10BTC, plus
    we will also get you listed on another partner exchange that is not on CMC but should be in 60-90 days. That will help a
    lot once you are listed on CMC with the credibility of having 3 exchanges all on CMC. W e have good relations with that
    exchange I think they will do it for $1,000 since they don't have CMC yet (this is no brainier and high return on investment

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7/4/2019          Case 3:20-cr-00249-RS                         Gmail - fees
                                                    Document 484-2      Filed 01/18/25               Page 95 of 116
    once they get CMC). Advise what package you want so I have get you invoiced and start the on-boarding process next
    week.

    Regards, TradeDex Team




    [Quoted text hidden]



  Monex 247 <monex247@gmail.com>                                                                         Fri, Jan 25, 2019 at 2:21 PM
  To: Nicholas Kross <info@tradedex.net>

    lets have a call.
    [Quoted text hidden]



  Nicholas Kross <info@tradedex.net>                                                                     Fri, Jan 25, 2019 at 3:01 PM
  To: Monex 247 <monex247@gmail.com>

    Marcus,

    All the details are in the email, just advise what service you want and IQT support will send you the on boarding
    paperwork to fill out.

    Regards, TradeDex Team




    [Quoted text hidden]




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Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 96 of 116
Hello!               Case 3:20-cr-00249-RS Document 484-2 Filed 01/18/25 Page 97 of 116
Guys, it's still not working for us, please help us.
Our ip addresses are allocated by google, we will have this problem again, we do not have server to whitelist . We have
multiple users that are missing deposits.

S
05:25
Segey P
Hello,
We'll check it. Thank you
3 December 2020

L
04:14
LATOKEN_listing
Thank you so much! Please let us know once you have an answer.
4 December 2020

S
21:29
Segey P
Hello @cs_LATOKEN ,
Please check now. Thank you
14 December 2020

S
00:48
Segey P
Hello,
@cs_LATOKEN , please let me know if you still have any issues with AML Bitcoin system. Thank you
13 January 2021

L
14:34
LATOKEN_listing
Hello Team!

During our regular trade audits, it was noticed that the liquidity spread was more than 10% and the trading volume was less
then the one specified in our TOB, hence ABTC pairs have been deactivated. This is also in the fair interest for the users as
they were unable to trade on your pairs because of wide spreads and low/no liquidity.


In order to activate the pairs again and have a successful launch, we recommend doing Liquidity Support, we have a great
partner Sam Rothman who can assist you with this. Also doing a Trading competition or an Airdrop will help us re-ignite
the trading volumes and interest towards your token.


@Monex247 Please Tell me when you are available for a call?
26 January 2021

NL
05:31
Nikita LATOKEN
Hi @sergey_petkevich
How are you doing? How is your project going?
Case 3:20-cr-00249-RS   Document 484-2   Filed 01/18/25   Page 98 of 116
                    Case 3:20-cr-00249-RS               Document 484-2         Filed 01/18/25   Page 99 of 116
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               Features
               AML Specifications
               Theft Resistance
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               Token Explorer
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         AMLBitcoin Talk



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         Blog
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         Contact Us
         Telegram
         AMLBitcoin Talk

AML BitCoin Token is currently trading. It is NOT the finalized AML BitCoin.

×
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       Download Wallet
             User Guide
             Token Explorer
       Blog
       FAQ
       White Paper
       Contact Us
       Telegram
       AMLBitcoin Talk


Terms and Conditions (Version 2)
Below are the Terms and Conditions effective April 9, 2019 to June 20, 2019. To see the previous Terms and Conditions,
please click here. To view the Terms and Conditions of the original AML Token Sale, please click here. Current Terms and
Conditions can be found here.

TERMS AND CONDITIONS (effective April 9, 2019)


In using this website and/or registering for purchase and/or storage of AML BitCoin Tokens and/or for an AML BitCoins
or a wallet related to the purchase or storage of AML BitCoins and/or AML BitCoin Tokens, You make the representations
below and acknowledge that You have carefully read, that You understand, that You agree to the terms and conditions set
forth below, and that they and Your representations below are a part of the contract and agreement between You and NAC
Foundation, LLC (hereinafter NAC ). You agree that these Terms and Conditions and the truth of Your representations
are a condition to Your use of NAC Websites (including this one), all Your purchases, uses, sales, transfers, exchanges,
transactions, and mining relating to the AML BitCoin, the AML BitCoin Token, Your use of an AML BitCoin Wallet and
Your use of an AML BitCoin Token Wallet. Neither this document, nor any other document produced or signed by NAC is
an offer or solicitation to buy coins or tokens.

A. Definitions. The following terms (listed alphabetically) are defined as follows:
     1. AML BitCoin refers to the product of AML BitCoin digital currency including all current or updated versions.
     2. amlbitcoin.com and amltoken.com, refer to the Website with the URL addresses of https://amlbitcoin.com
     and https://amltoken.com, which is owned by NAC Foundation, LLC.
     3. AML BitCoin Token Wallet and AML BitCoin Wallet refer to the digital wallet used for sending, receiving
     and mining AML BitCoins.
     4. amlbitcoinwallet.com and amlwallet.com refer to the Website with the URL addresses of
     http://amlbitcoinwallet.com and http://amlwallet.com, which is owned by NAC.
     5. AML Compliant refers to the future features or attributes of the AML BitCoin by which the AML BitCoin code
     and or combined with NAC s operating protocols and activities such as monitoring and reporting of activities
     concerning the purchase, use, sale, exchange and maintenance of the AML BitCoin, endeavor which strives to be
     compliant with the AML Laws.
     6. AML Laws means and refers to the laws, statutes, rules, regulations, and procedures of the United States,
     various States within the United States, and of jurisdictions of other nations in which AML BitCoin and/or AML
     Token is purchased, sold, exchanged, or used that govern, regulate, and relate to preventing money-laundering,
     terrorism, identity theft, financial crimes, and pertain to know-your-customer laws, and specifically (a) the Uniting
     and Strengthening America by Providing Appropriate Tools Required to Intercept and Obstruct Terrorism Act of
     2001, aka the USA PATRIOT Act; (b) International Money Laundering Abatement and Financial Anti-Terrorism Act
    of 2001, aka  Title3:20-cr-00249-RS
                Case    III, of the USA PATRIOT      Act, and484-2
                                               Document        subtitlesFiled
                                                                        that deal with International
                                                                              01/18/25      Page 101 Counter
                                                                                                       of 116Money
    Laundering and Related Measures, Bank Secrecy Act Amendments and Related Improvements, and, Currency
    Crimes and Protection; (c) the Money Laundering Control Act of 1986; (d) provisions of the Fair and Accurate Credit
    Transactions Act of 2003, also known as FACT Act or FACTA, that pertain to the prevention of identity theft; (e)
    requirements related to economic and trade sanctions administered and enforced by the Office of Foreign Assets and
    Controls (OFAC) within the United States Department of Treasury; (f) the Bank Secrecy Act, aka BSA or the
    Currency and Foreign Transactions Reporting Act, which requires the reporting of certain transactions to the
    government; (g) laws pertaining to know-your-customer requirements; and (h) similar laws in other countries.
    7. AML BitCoin Token also referred to as AML Token refers to a digital token that was sold during the Initial
    Coin Offering. AML Token may be exchanged for AML BitCoins at a 1:1 ratio.
    8. AML Token Wallet refers to the digital wallet used for sending and receiving AML Tokens. Mining of AML
    BitCoin Tokens is prohibited.
    9. amltoken.com refers to the Website with the URL address of https://amltoken.com, which is owned by NAC.
    10. BGCI refers to Black Gold Coin International, Inc., a Wyoming corporation. BGCI s only relationship to NAC
    is a licensing agreement which may change or terminate at any time. BGCI is not making any representations to you
    and you are not expecting any representations for future actions from BCGI.
    11. NAC refers to NAC Foundation, LLC, a limited liability company organized and existing under the laws of the
    State of Nevada, United States of America, with a principal place of business in Las Vegas, Nevada. NAC shall
    further mean any of its valid successors-in-interests, assigns, shareholders, investors, managers, officers, executives,
    directors, parents or subsidiaries, or other affiliates, or any other person natural or otherwise to whom NAC may have
    the right, duty, power or obligation to assign, in whole or in part, these Terms and Conditions.
    12. NAC Websites refers to AMLbitcoin.com, AMLbitcoinwallet.com, AMLexplorer.com, ATKexplorer.com,
    AML Wallet.com, AMLtoken.com, and all other websites that may be owned or associated with NAC from time to
    time. In the event a predecessor coin created by NAC (the Aten Coin) is converted to an AML BitCoin, then NAC
    Websites also refers to Atencoin.com, being the Website with a former URL address of https://www.atencoin.com
    and Atenwallet.com, being the Website with a former URL address of https://atenwallet.com. Please see below for an
    important disclosure regarding the conversion of the predecessor coin (the Aten Coin). All past and present holders of
    the predecessor coin (the Aten Coin) must review this disclosure at their earliest convenience.
    13. Parties refers to You and NAC collectively.
    14. Party refers to NAC or You, as the case may be.
    15. You and Your each refers to you, the person accessing this website and accepting these terms and
    conditions.


B. You acknowledge, understand, represent, warrant and agree as follows:
    1. These Terms and Conditions shall be retroactive to the date of Your original purchase and/or acquisition of AML
    BitCoin Tokens and/or AML BitCoins and Your execution of a Purchase and Sale Agreement in connection with
    Your purchase of AML BitCoin Tokens, AML BitCoins, and/or Aten Coins.
    2. These Terms and Conditions supersede and replace all prior inconsistent agreements made between You and
    NAC, or all prior representations made by NAC, including the whitepaper or any other representation or warranty
    regarding the nature, quality, use, purpose, quantity, price or value, or any other feature or condition of AML BitCoin
    Tokens and/or AML BitCoins or any other product or service sold, licensed, or used by You in the course of your
    relationship with NAC.
    3. Your use of any NAC Websites constitutes a continuing acceptance of these Terms and Conditions, i.e., every
    time you access any NAC Website, communicate with NAC, or otherwise use any NAC product, service, NAC
    Website, or AML Bitcoin and/or AML BitCoin Token, you accept these Terms and Conditions as revised or restated
    at any time.
    4. NAC reserves the right to amend, novate, rescind, or otherwise modify or alter these Terms and Conditions at any
    time without notice. Your continuing acceptance of these Terms and Conditions constitutes a continuing acceptance
    of all such subsequent modifications. NAC may so modify for any or no reason, with no duty to exercise its unlimited
    discretion in this matter under any particular standard, and without notice to You except to the express and limited
    extent that may be required under the data privacy laws of the State of Nevada and the European Union.
    5. You are at least 18 years of age and are of competent mind.
    6. If You are a domiciliary of the State of Nevada and under the age of 13, You may not use any NAC Website,
    except to the express and limited extent of informing NAC of your unauthorized access of an NAC Website for the
    sole purpose of causing any information NAC has stored about Your use of any NAC Website to be erased.
7. NAC reserves     the right, without noticeDocument
            Case 3:20-cr-00249-RS             or permission,
                                                         484-2to undertake any form ofPage
                                                                    Filed 01/18/25      manual  transactions
                                                                                              102  of 116 or automated
transactions, or to undertake any other lawful activities, that may be necessary to comply with the rules and
regulations set out by any public markets or exchanges ( Exchanges ) with which NAC conducts any business. This
may include the use of automation tools to generate transactions necessary to comply with volume thresholds set by
some Exchanges. Your attempt to interfere with, track, disrupt, manipulate, generate arbitrate directly off of, cause,
or otherwise interact with any transactions generated for purposes of Exchange rule compliance may constitute
grounds for forfeiture of some or all of your AML Tokens or AML Bitcoins, and may constitute a violation of
applicable securities laws. You represent and warrant that NAC s Exchange compliance methods are proprietary to
NAC, are necessary for NAC s core business functions, and that Exchange compliance may result in the production
of transaction information to which you are not entitled and which does not affect the value of any NAC product or
service. NAC reserves the right, but not the obligation, to engage in volume- making for purposes of Exchange
compliance. NAC is not a market-maker for Bitcoin or any other product or service.
8. NAC does not engage in any direct sales of any product or service. Your attempt to solicit NAC to participate in
direct sales may subject You and Your information to further verification, may result in the creation of information
that cannot be deleted as part of Your right to be forgotten as defined below without compromising Your
compliance with various securities laws, and may be grounds for the termination of Your account and forfeiture of
any moneys or products that You receive as a direct or proximate result of such a direct sale.
9. You are not located in a country subject to sanctions imposed by laws or regulations of the United States or any
governmental agency, department or office of the United States (such as the Office of Foreign Assets Control within
the U.S. Department of the Treasury), or executive orders of the President of the United States, or treaties to which
the United States is a party, or otherwise imposed by other organizations, such as the United Nations, European
Union, any European Union country, the United Kingdom s Department of Treasury, or any other sanctions list
recognized and enforced by the United States, such as, without limitation and solely by way of example, the
Democratic People s Republic of North Korea and its territories, Iran, and Iraq.
10. Your purchase of AML BitCoin Tokens and AML BitCoins and use of the AML BitCoin Token Wallet and
AML BitCoin Wallet complies with applicable law and regulation in Your jurisdiction, including, but not limited to,
(a) legal capacity to enter into contracts, (b) relating to purchasing, selling and using digital or cryptocurrencies such
as the AML BitCoin Tokens and AML BitCoins, and exchanges for such, and (d) any governmental or other consents
required have been obtained.
11. Information You provided to NAC about Yourself, including, without limitation, passport, driver s license,
address, social security number, email address, biometric data, bank account information in connection with
verification procedures and Your use of NAC Websites, the AML BitCoin Token Wallet and/or the AML BitCoin
Wallet, is accurate. Should any such information be inaccurate or change, You will promptly deliver correct
information to NAC.
12. In order to obtain an AML BitCoin Wallet and to purchase, sell, exchange, hold, mine, and use the AML
BitCoins, You must complete, obtain, and comply with the procedures for and to obtain a certified digital identity
profile. This process requires a biometric scan of one of more of Your face, iris, retina, and fingerprint. NAC may
rely upon an alternative vendor for the creation, administration and processing of certified digital identity profiles by
means of biometric scans. If digital identity software is not fully ready, NAC reserves the right to use any
identification system for the digital identity platform.
13. Certain representations made by or about the Aten Coins, AML Bitcoin Tokens, AML BitCoin Token Wallets,
and other material representations about NAC and any of its affiliates, whether by the NAC Website or otherwise,
may be made by certain third parties that perform social media and related marketing and promotional efforts on
NAC s behalf. You hereby indemnify and hold harmless NAC from any representations or misrepresentations, or any
other costs, claims valid or otherwise, disputes, or any other liability in any form and in any amount, that may arise
on the basis of representations made by such third parties. NAC s various marketing, promotional, and social media
affiliates and third parties are third-party beneficiaries of this Agreement.
14. If You are using this website and/or registering for an AML BitCoin Token Wallet and/or an AML BitCoin
Wallet on behalf of a legal entity, You represent and warrant that (a) such legal entity is duly organized and validly
existing under the applicable laws of the jurisdiction of its organization; (b) and You are duly authorized by such
legal entity to act on its behalf.
15. As to entities, only the authorized representative of the entity shall obtain an AML BitCoin Token Wallet and/or
the AML BitCoin Wallet and all addresses and credentials pertaining to the AML BitCoin Token Wallet and the
AML BitCoin Wallet and transactions in AML BitCoin Tokens and AML BitCoins, including purchases, sales,
exchanges, and use in commercial or consumer transactions shall refer to an address identifying the individual
representative of the entity.
16. BGCI Caseand NAC     are two separate andDocument
                     3:20-cr-00249-RS         distinct business
                                                         484-2entities.
                                                                  Filed 01/18/25 Page 103 of 116
17. You have no right to and will not share or participate in any way with BGCI s revenue, profit, or losses earned in
connection with its activities concerning the AML BitCoin and/or AML BitCoin Token. BGCI s only relationship to
NAC is a licensing agreement which may change or terminate at any time. BGCI is not making any representations to
you and you are not expecting any representations for future actions from BCGI.
18. AML BitCoin and/or AML Token have no underlying collateral; the AML BitCoin and/or AML BitCoin Token
is merely an unsecured cyber currency or digital coin or in the case of the AML BitCoin Token, a digital token for the
exchange to an AML BitCoin.
19. AML BitCoin and/or AML BitCoin Token will not be redeemed by BGCI or NAC and You are not relying upon
NAC to be a source of liquidity for You or Your purchase of AML BitCoin and/or AML BitCoin Token.
20. Neither AML BitCoins and/or AML BitCoin Tokens nor any agreement related to Your purchase of AML
BitCoins and/or AML BitCoin Tokens creates or constitutes a debt of NAC to You. Neither BGCI nor NAC is
obligated to pay You any returns or repayment regarding Your purchase of AML BitCoins and/or AML BitCoin
Tokens.
21. AML BitCoin is a medium of exchange and not a pooled interest in any business entity or common enterprise or
a business venture involving You and BGCI, NAC or its affiliates or subsidiaries. BGCI s only relationship to NAC
is a licensing agreement which may change or terminate at any time. BGCI is not making any representations to you
and you are not expecting any representations for future actions from BCGI.
22. You have not purchased and have no intention of purchasing AML BitCoins, AML BitCoin Tokens, Aten Coins,
and/or any other company or product offered by NAC for investment purposes and You expect no return on
investment.
23. AML BitCoins and/or AML BitCoin Tokens are not securities and are not subject to the securities laws of any
governmental entity.
24. AML BitCoins, AML BitCoin Tokens, and Aten Coins are intended to be and are solely an Internet-based
exchange medium.
25. By purchasing, selling, exchanging, transferring, using or mining AML BitCoins and/or AML BitCoin Tokens,
and by using the AML BitCoin Wallet, AML BitCoin Token Wallet, and/or an NAC Website, or obtaining and using
technical information and technical support provided by NAC, You are not participating in and not becoming a
member or investor in any pooled interest, business entity, common enterprise, or business venture with NAC or any
of its or their affiliates. By purchasing AML BitCoins or AML BitCoin Tokens, You have no right to vote on any
activity of BGCI, NAC, or any other affiliate or subsidiary of BGCI, NAC or any companies or affiliates associated
with the members or directors. BGCI s only relationship to NAC is a licensing agreement which may change or
terminate at any time. BGCI is not making any representations to you and you are not expecting any representations
for future actions from BCGI.
26. NAC and its affiliates can, without notice, purchase AML BitCoins and/or AML BitCoin Tokens on the
secondary market after the initial issuance, and may resell the AML BitCoins and/or AML BitCoin Tokens that they
purchased.
27. You shall take full responsibility for Your AML BitCoin Wallet and Your AML BitCoin Token Wallet.
28. You understand that AML BitCoins, AML BitCoin Tokens, and all other products offered by or through NAC
and NAC Websites will not be subject to the protections of the securities laws. NAC does not and cannot represent
that any such products will appreciate in value over time. No such products have any secondary market. No such
products constitute a fractional or total ownership stake, or stake in economic rights, of any business. No such
products will gain value through the investment or promotional efforts of third parties. No such products involve a
promise of repayment. No such products may be transferred to any third party absent the express written permission
of NAC.
29. NAC will use its best efforts to create a final product which will be a digital currency (or cryptocurrency or
cybercurrency) that is compliant with AML Laws.
30. Your purchase of AML BitCoins and/or AML BitCoin Tokens is solely for the purpose of using AML BitCoins
and/or AML BitCoin Tokens for Your lawful commercial or personal activities, but not as an investment.
31. You have never, to Your knowledge, been involved in any terrorist or terrorist financing activity; and You shall
never intentionally engage in activities that constitute terrorism or financing of terrorists.
32. You shall abide by and conform Your conduct to relevant laws in Your jurisdiction regarding the ownership,
purchasing, selling, exchanging, transferring, using or mining AML BitCoins and/or AML BitCoin Tokens, and use
of the AML BitCoin Wallet, the AML Token Wallet and/or an NAC Website, including, but not limited to, reports to
tax authorities.
33. You are not purchasing, selling, exchanging, transferring, using or mining AML BitCoins and/or AML BitCoin
Tokens, and/or
            Caseusing   the AML BitCoin Wallet,
                    3:20-cr-00249-RS        Documentthe AML
                                                         484-2BitCoin  Token
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                                                                                             104NAC   Website for the
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purpose of facilitating any illegal or unlawful activities, or in any way in connection with any illegal or unlawful
activity.
34. In connection with the purchasing, selling, exchanging, transferring, using or mining AML BitCoins and/or AML
BitCoin Tokens, and/or using the AML BitCoin Wallet, the AML BitCoin Token Wallet, and/or an NAC Website,
You intend to and will make all reasonable efforts to comply with all laws and regulations of the United States
governing currency transmission activity, all State laws governing such, and all laws governing such in Your
jurisdiction.
35. The supply of AML BitCoin, AML BitCoin Token and NAC services through the NAC Website are subject to
United States and international export controls and economic sanctions requirements.
36. NAC will use its best efforts to monitor all the transactions (purchases, exchanges, sales, mining) of AML
BitCoins in an effort to detect suspicious activities that may violate AML Laws.
37. NAC intends to track AML BitCoin to identifiable persons and business entities and will file suspicious activity
or similar reports with relevant governmental agencies in nations where it does business. In filing such reports NAC
shall exercise reasonable care and act in good faith based on the information it has and that is provided to it. You
agree that notwithstanding NAC s exercise of reasonable care and good faith, or otherwise act in conformity with the
standards of applicable law, such reports may be erroneous or contain incomplete or inaccurate information. You
acknowledge that generally such reports to governmental agencies that are required to be made are privileged
communications, as a result of which, NAC would not be subject to a claim for damages in the event that NAC
makes an incorrect or incomplete report having exercised reasonable care and good faith.
38. Your AML BitCoin or AML BitCoin Token transactions and their associated IP locations of senders and
receivers will be recorded and securely stored in a server located in United States of America. Your personal
information submitted to an NAC Website shall be securely stored and backed-up in a physical server located in
United States of America. Your AML BitCoin transactions and their associated IP locations of senders and receivers
will be monitored and analyzed in United States of America with monitoring and detecting software that allows NAC
to identify any suspicious activities. Any suspicious activities associated with Your AML BitCoin transactions
together with personal information and IP locations of corresponding senders and receivers may, in NAC s sole
judgment, be reported to relevant government entities in Your region and/or the Financial Crimes Enforcement
Network (FinCEN at http://www.fincen.gov/) in United States of America. NAC s tracking and reporting to
appropriate governmental authorities of suspicious activities, includes Your activity in the United States with respect
to the AML BitCoin.
39. In the event NAC receives or possesses information that would lead to a reasonable and good faith suspicion, or
a basis otherwise in conformity with applicable law, that a transaction in AML BitCoin Tokens and/or AML BitCoins
is violating or is about to violate money laundering, anti-terrorist financing, or anti-fraud laws of the United States or
of any nation or that the use of AML BitCoins is or is about to be used to facilitate a violation of such laws or a
financial crime, or is in violation of a validly issued court order or other valid governmental order, NAC may refuse
to process, or may rescind, cancel or reverse, any purchase, sell, exchange, transfer, use or mine of AML BitCoins,
and freeze Your AML BitCoin Wallet. In the event Your AML BitCoin Wallet is frozen and You have credible
evidence, or evidence otherwise satisfying the standard of applicable law, establishing that You did not knowingly
engage in terrorist or criminal activity or the financing of such, and in the event NAC is not ordered otherwise by a
court, governmental or law enforcement agency or department, NAC will take all reasonable actions to unfreeze and
reinstate Your AML BitCoin Wallet. (In this regard, You must contact [email protected]).
40. By purchasing, selling, exchanging, transferring, using or mining AML BitCoins and by using the AML BitCoin
Token Wallet and/or AML BitCoin Wallet You are relinquishing rights of privacy relating to NAC s monitoring and
reporting of transactions pertaining to You as provided in these Terms and Conditions. You shall have no right to a
claim or cause of action or claim of damages against NAC relating to an invasion of privacy by NAC as a result of
NAC s monitoring and reporting of transactions as provided in these Terms and Conditions.
41. You shall take all reasonable measures to not permit or allow access to any person or entity other than You to use
Your AML BitCoin Token Wallet, Your AML BitCoin Wallet and/or any NAC Website. You will implement
reasonable and appropriate measures designed to secure access to (a) any device associated with the email address
associated with Your AML BitCoin Token Wallet, Your AML BitCoin Wallet, NAC Websites, the AML BitCoin
Tokens and AML BitCoins, (b) private keys required to access any relevant AML BitCoin Token and AML BitCoin
address, and (c) Your username, password and any other login or identifying credentials for the NAC Websites, the
AML BitCoin Tokens, AML BitCoins, Your AML BitCoin Token Wallet or Your AML BitCoin Wallet.
42. You shall not use a web crawler or similar technique to access NAC s Websites or to extract data, reverse
engineer or disassemble any aspect of NAC s Websites, the AML BitCoin Tokens, AML BitCoins, AML BitCoin
Token WalletCase or the AML BitCoin WalletDocument
                     3:20-cr-00249-RS          in an effort484-2
                                                            to accessFiled
                                                                      any source code, underlying
                                                                           01/18/25     Page 105ideas   and concepts, and
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algorithms. You shall not take any action that imposes an unreasonable or disproportionately large load on NAC s
infrastructure, or detrimentally interfere with, intercept, or expropriate any system, data, or information. You shall
not transmit or upload any material to an NAC Website that contains viruses, Trojan horses, worms, or any other
harmful or deleterious program. You shall not otherwise attempt to gain unauthorized access to the NAC Websites,
AML BitCoin Tokens, AML Bitcoins, an AML BitCoin Token Wallet and/or an AML BitCoin Wallet and/or any
related computer systems or networks connected with NAC, through password mining or any other means.
43. In the event You suspect a security breach in any of the foregoing You will inform NAC immediately so it can
take all required and possible measures to secure Your AML BitCoin Token Wallet, Your AML BitCoin Wallet, the
NAC Websites, the AML BitCoin Tokens, AML BitCoins, and related systems as whole. In the event that You are no
longer in possession of any device associated with Your AML BitCoin Tokens , AML BitCoins or are not able to
provide Your login or identifying credentials to NAC or the NAC Websites, or Your digital identity is unavailable,
deleted or compromised, NAC may, in its sole discretion, grant access to Your AML BitCoin Wallet to any person
providing additional credentials to NAC. NAC reserves the right to determine the additional credentials required,
which may include, without limitation, a sworn, notarized statement of identity.
44. NAC will operate and maintain its computer systems and the NAC Websites in such a manner as a reasonably
prudent person in the business of conducting transactions based on a sophisticated computer networking system, and
NAC shall exercise due care and good faith, including employing technicians and personnel highly skilled in the
operation of such highly sophisticated computer and software based technologies. NAC shall endeavor to employ and
utilize the most sophisticated and safest methods of internet and computer security available sufficient to assure that
at all times its computer network and NAC Websites provide a safe and secure environment for the conduct of the
business anticipated by these Terms and Conditions.
45. In the event of an attack on and NAC Website or computer system, a virus or malicious code in NAC s computer
system, notwithstanding NAC s compliance with paragraph 36 above, or in the event NAC is required to suspend,
modify, discontinue all or a portion of its services, or terminate its services by a court order or governmental order or
direction, as a result of circumstances beyond NAC s control, NAC shall not be liable to You for any damage as a
result of such suspension, modification, discontinuance, or termination.
46. It is possible that Your AML BitCoin Token Wallet and/or Your AML BitCoin Wallet may be subject to
attempted impersonation and or cyber-attack which could result in the material diminution, theft or transfer of Your
AML BitCoin Token Wallet and/or Your AML BitCoin Wallet. So long as NAC has complied with paragraph 36
above, and the circumstances leading to such impersonation or cyber-attack are beyond NAC s control, NAC shall
not be liable for any damage caused to You as a result of the use of NAC s computer system or an NAC Website,
including direct, indirect, or consequential damages, whether such damage is caused by a hack, data breach,
malicious code, computer virus or criminal conduct.
47. Neither NAC, its subsidiaries, affiliates, or licensors and their shareholders, owners, partners, joint ventures,
trustees, beneficiaries, directors, officers, employees, attorneys, consultants, and agents will, in regard to the AML
BitCoin Tokens, AML BitCoins, Your AML BitCoin Token Wallet, Your AML BitCoin Wallet, or NAC Websites,
be liable to You or anyone else for any damages of any kind, including, but not limited to, direct, consequential,
incidental, special or indirect damages, including but not limited to loss of profits, trading losses or damages, that
result from use or loss of use of the AML BitCoin Tokens, AML BitCoins, Your AML BitCoin Token Wallet, Your
AML BitCoin Wallet, or NAC Websites, even if NAC, its subsidiaries, affiliates, licensors and their shareholders,
owners, partners, joint ventures, trustees, beneficiaries, directors, officers, employees, attorneys, consultants, and
agents has or have been advised of the possibility of such damages or losses, except as otherwise expressly provided
in these Terms and Conditions.
48. NAC shall not be liable for any delay or failure to perform any obligation under these Terms and Conditions
where the delay or failure results from any cause beyond NAC s reasonable control, including acts of God, labor
disputes or other industrial disturbances, electrical, telecommunications, hardware, software or other utility failures,
earthquake, storms or other elements of nature, blockages, embargoes, riots, acts or orders of government, acts of
terrorism, or war, changes in blockchain technology (broadly construed), or any other force or conditions not within
NAC s control.
49. In making Your purchase of AML BitCoins and/or AML BitCoin Tokens You are and have relied solely upon
Your own judgment, belief and knowledge as to the nature of the currency and the Cybercoin, cryptocurrency, or
digital market and industry and You are not relying on any statements made by NAC, or any of its agents or
representatives or on any of its advertising or marketing materials, or any representation or statement made on any
NAC Website; and You shall not assert any claim(s) against NAC or any of its agents or representatives based on
information on any NAC Website or any modification or change to any NAC Website.
50. You haveCasea substantial  and sophisticated
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                                              Document     understanding
                                                                     Filed of the functionality,
                                                                           01/18/25      Page 106usage,
                                                                                                     of and
                                                                                                        116storage of
cryptographic and digital coins and tokens, as well as blockchain- based software and/or technology.
51. The AML BitCoin Token Wallet, AML BitCoin Wallet, AML BitCoin Token and AML BitCoin are provided
  as is . NAC, its subsidiaries, affiliates, licensors and their shareholders, owners, partners, joint ventures, trustees,
beneficiaries, directors, officers, employees, attorneys, consultants, and agents make no warranties of any kind,
whether express, implied, statutory or otherwise regarding the AML BitCoin Token Wallet, AML BitCoin Wallet,
AML BitCoin Token and AML BitCoin, including any warranty that the AML BitCoin Token Wallet, AML BitCoin
Wallet, AML BitCoin Token and AML BitCoin will be uninterrupted, error-free or free of harmful components,
secure or not otherwise lost or damaged. Except to the extent prohibited by law, NAC, its subsidiaries, affiliates, or
licensors and their shareholders, owners, partners, joint ventures, trustees, beneficiaries, directors, officers,
employees, attorneys, consultants, and agents disclaim all warranties, including any implied warranties of
merchantability, satisfactory quality, fitness for a particular purpose, non- infringement, or quiet enjoyment, and any
warranties arising out of any course of dealing or usage of trade.
52. To the fullest extent provided by applicable law, You shall indemnify, defend, and hold harmless NAC, its
subsidiaries, affiliates, licensors and their shareholders, owners, partners, joint ventures, trustees, beneficiaries,
directors, officers, employees, attorneys, consultants, and agents from and against any and all claims, demands,
causes of action, debts or liabilities, including reasonable attorneys fees (collectively, Damages ) to the extent that
any such Damages are based upon or arise out of (a) a misrepresentation by You made in connection with Your
purchase of AML BitCoins and/or AML BitCoin Tokens or use of any NAC Website, or (b) Your violation of any
law, statute, rule, or regulation of a nation or subdivision thereof having jurisdiction over You.
53. You shall reimburse NAC its subsidiaries, affiliates, licensors and their shareholders, owners, partners, joint
ventures, trustees, beneficiaries, directors, officers, employees, attorneys, consultants, and agents, as the case may be,
for all reasonable legal fees and expenses incurred in processing and responding to a subpoena, legal order or other
legal process relating to You.
54. The permission or privilege to use the amlbitcoin.com website does not necessarily include a right to use any
other NAC Website nor the right to an AML BitCoin Token Wallet and an AML BitCoin Wallet. In order to use the
amlbitcoin.com website or to acquire an AML BitCoin Wallet, You must be registered, having gone through and
submitted to the required verification procedures.
55. NAC retains all right, title and interest in all of its intellectual property, including inventions, discoveries,
processes, marks, methods, compositions, formulae, techniques, information, source code, brand names, graphics,
user interface design, text, logos, copyrights, moral rights, images, information and data pertaining to the NAC
Websites, AML BitCoin Token Wallets, AML BitCoin Wallets, AML BitCoin Tokens, and AML BitCoins or that of
NAC s subsidiaries and/or affiliates (hereinafter NAC s IP ) whether or not patentable, copyrightable or protectable
in trademark, and any trademarks, copyrights or patents based thereon. NAC s IP does not include any of BGCI s
intellectual property except to the extent of revocable limited licenses to use. BGCI s only relationship to NAC is a
licensing agreement which may change or terminate at any time. BGCI is not making any representations to you and
you are not expecting any representations for future actions from BCGI.You may not use any of NAC s IP for any
reason, except with its prior express written consent. You will not modify, publish, transmit, reverse engineer,
participate in the transfer or sale, create derivative works, or in any way exploit any of NAC s IP, in whole or in part,
found on the NAC Websites or associated products and services, or otherwise. NAC s IP is not for resale. Your use
of the NAC s IP does not entitle You to make any unauthorized use of any NAC s IP, and in particular You will not
delete or alter any proprietary rights or attribution notices in any NAC s IP. You will use NAC s IP solely for Your
personal use and will make no other use of NAC s IP without the express written permission of NAC and the
copyright, trademark, tradename, and/or patent owner. You agree that You do not acquire any ownership rights in
any NAC s IP. We do not grant You any licenses, express or implied, to the intellectual property of NAC except as
expressly authorized by these Terms Conditions.
56. You have no claim of ownership or in any of NAC s IP, including, but not limited to, any NAC Website, the
AML BitCoin Tokens, AML BitCoins, AML BitCoin Token Wallet, AML BitCoin Wallet, or any other of NAC s IP
or that of NAC s affiliates, subsidiaries, and/or licensors, and you shall not assert, claim or file any allegation that
you own any copyright, trademark, tradename, and/or patent in any NAC Website, the AML BitCoin Tokens, AML
BitCoins, AML BitCoin Token Wallet, AML BitCoin Wallet, or any other of NAC s IP or that of NAC s affiliates,
subsidiaries, and/or licensors. You shall never file any action, lawsuit or arbitration in any forum asserting a claim of
infringement against NAC, its subsidiaries, affiliates, or licensors and their shareholders, owners, partners, joint
ventures, trustees, beneficiaries, directors, officers, employees, attorneys, consultants, and agents, as to any of NAC s
IP, including, but not limited to, any NAC Website, the AML BitCoin Tokens, AML BitCoins, AML BitCoin Token
Wallet and AML BitCoin Wallet.
57. None of    the Terms
            Case           and Conditions herein
                    3:20-cr-00249-RS              shall be
                                             Document      deemed Filed
                                                         484-2     waived  unless a waiver
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                                                                                              in writing
                                                                                                   of 116and signed by
NAC, and in no event, shall there be a waiver solely by reason of a failure to assert or delay in asserting a term or
condition.
58. In the event any one or more of these Terms and Conditions, or part thereof, is declared to be void or otherwise
unenforceable, the remainder of such term and condition and of these Terms and Conditions shall survive and be
deemed modified or amended so as to fulfill the intent of these Terms and Conditions and comply with any
applicable law or order of a court.
59. To give notice to NAC under these Terms and Conditions, You must contact NAC by email to [email protected]
60. All communications to be made or given pursuant to these Terms and Conditions shall be in the English
language.
61. Ownership of AML Bitcoin Tokens and AML BitCoins by Non-Natural Persons; Non-Transferability and Non-
Assignability As stated above, in order to obtain an AML BitCoin Wallet and to purchase, sell, hold, exchange, and
use AML BitCoins, You must obtain a certified digital identity profile, and this process requires a biometric scan of
one or more of an individual s face, iris, retina, and fingerprint. Accordingly, only an individual can obtain an AML
BitCoin Wallet. While the AML BitCoins and AML Bitcoin Tokens can be held in the name of an entity, such as a
corporation, limited liability company, partnership or trust, the owner of the AML BitCoin Wallet must be and can
only be an individual associated with that entity. Accordingly, an AML BitCoin Wallet cannot be transferred or
assigned, unless an individual associated with the transferee independently obtains a certified digital identity profile
in accordance with the process that creates a biometric scan of one or more of such individual s face, iris, retina, and
fingerprint and complies with all other procedures to obtain an AML BitCoin Wallet. NAC reserves the right to use
any digital identity platform or any identity verification system until NAC finds a suitable permanent digital identity
platform.
62. Changes to these Terms and Conditions. NAC reserves the right, at its sole discretion, to modify, change, alter or
amend any of these Terms and Conditions from time to time and at any time. Notification of such changes,
alterations, modifications or amendments, shall be made via the NAC Website(s) or via email to You (at the email
address You provided previously). You shall be responsible for reviewing and shall be bound by such changes,
alterations, modifications or amendments to these Terms and Conditions. Your continued use of the NAC Website
after the posting or notice by email of such changes, alterations, modifications or amendments shall be deemed Your
acceptance and agreement to such changes, alterations, modifications or amendments.
63. Applicable Law, Jurisdiction and Venue. These Terms and Conditions, including the representations, warranties,
covenants, limitations on liability, and indemnities, contained therein as well as any other written or oral agreements
between You and NAC, and any and all claims between the Parties, including their agents, representatives,
employees, affiliated entities, trustees, conservators, successors and assigns, related to or arising from these Terms
and Conditions, said agreements, whether in contract or tort, and seeking damages or equitable remedies, shall be
governed, construed and enforced in accordance with the laws of the State of Nevada, USA and applicable federal
law of the United States, without giving effect to Nevada s or the United States conflicts of laws principles. You
agree that only federal courts, state courts, and arbitration forums located in the State of Nevada, United States of
America shall have jurisdiction to determine and adjudicate any such matters or disputes, and You agree that such
courts shall have jurisdiction over You as well as Your agents, representatives, employees, affiliated entities, trustees,
conservators, successors and assigns, and You, and on behalf of each of Your agents, representatives, employees,
affiliated entities, trustees, conservators, successors and assigns, waive any objection that such courts or arbitration
forums do not have personal jurisdiction over You and them. You agree that venue for the determination or
adjudication of any and all matters in controversy or disputes between the Parties, and each of their agents,
representatives, employees, affiliated entities, trustees, conservators, successors and assigns, shall be solely and
exclusively in Clark County, Nevada, United States of America, and You agree that such venue is intended to be
mandatory and not permissive. You agree, on behalf of Yourself and each of Your agents, representatives,
employees, affiliated entities, trustees, conservators, successors and assigns, that You and they waive any objection
that venue in Clark County, Nevada, United States of America is an inconvenient forum.
64. Important Warning Concerning Activity in Prohibited Locations Persons located in certain territories, currently
including countries subject to sanctions imposed by laws or regulations of the United States or any governmental
agency, department or office of the United States (such as the Office of Foreign Assets Control within the U.S.
Department of the Treasury), or executive orders of the President of the United States, or treaties to which the United
States is a party, or otherwise imposed by other organizations, such as the United Nations, European Union, any
European Union country, the United Kingdom s Department of Treasury, or any other sanctions list recognized and
enforced by the United States, such as, without limitation and solely by way of example, the Democratic People s
Republic of North Korea and its territories, Iran, and Iraq, are not permitted to purchase, sell, exchange, transfer, use
or mine AML     BitCoins
             Case          and/or AML Tokens,
                    3:20-cr-00249-RS             and/or use
                                            Document    484-2the AML   BitCoin
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and/or an NAC Website. This restriction applies to residents and citizens of other nations while located in a
prohibited jurisdiction. The fact that the NAC Website may be accessible in a prohibited jurisdiction, or that the NAC
Website allows the use of the official language of a prohibited jurisdiction, shall not be construed as a license to use
purchase, sell, exchange, transfer, use or mine AML BitCoins and/or AML BitCoin Tokens, and/or use the AML
BitCoin Wallet, AML Token Wallet and/or an NAC Website in such prohibited jurisdiction. Any attempt to
circumvent this restriction, for example, by using a VPN , proxy or similar service that masks or manipulates the
identification of Your true location, or by otherwise providing false or misleading information regarding citizenship,
location, place of residence, or by using the NAC Website through a third party or on behalf of a third party located
in a prohibited jurisdiction is a breach of these Terms and Conditions. If NAC has reasonable grounds to suspect that
You are located in any of the prohibited jurisdictions, NAC may, without notice, and in accordance with applicable
laws, close Your account, deactivate Your AML BitCoin Wallet, and refuse to process, and may rescind, cancel or
reverse, any purchase or sale of AML BitCoins and/or AML BitCoin Tokens.
65. Arbitration and Dispute Resolution; Class Action Waiver
      66. 1. Except as to claims for injunctive relief requiring immediate restraining orders, all disputes,
      controversies or claims between You and NAC, its subsidiaries, affiliates, or licensors and their shareholders,
      owners, partners, joint ventures, trustees, beneficiaries, directors, officers, employees, attorneys, consultants,
      and agents arising out of or relating to these Terms and Conditions, the purchase, sale or exchange of AML
      BitCoin Tokens or AML BitCoins, the NAC Websites, Your relationship with NAC, its subsidiaries, affiliates,
      or licensors and their shareholders, owners, partners, joint ventures, trustees, beneficiaries, directors, officers,
      employees, attorneys, consultants, and agents, or as to any other matter between You and NAC, its subsidiaries,
      affiliates, or licensors and their shareholders, owners, partners, joint ventures, trustees, beneficiaries, directors,
      officers, employees, attorneys, consultants, and agents, including concerning the interpretation of these Terms
      and Conditions, or any agreement between You and NAC, whether for breach of contract, for a tort, or
      otherwise, shall be resolved and adjudicated by binding arbitration before ADR Services, Inc. (if available in
      the venue for adjudication of disputes or before JAMS, Inc. if ADR Services, Inc. is not available in such
      venue, or if neither is available in the venue for adjudication, then before the American Arbitration Association)
      and shall be conducted in accordance with the commercial arbitration rules of the such arbitration forum, except
      as otherwise provided herein. The arbitration shall be conducted in Clark County, Nevada, United States of
      America. The arbitration shall be conducted by a single arbitrator. The arbitration shall be conducted in the
      English language and all documents filed, notices, claims responses, counter- claims, counter-responses, briefs,
      or other papers shall be in the English language. All evidentiary documents in a language other than English
      shall be translated into the English language and shall be translated by a person certified and authorized under
      the laws of the State of Nevada. The arbitrator shall be selected in accordance with the rules of the selected
      arbitration organization.
      2. The arbitration is to be expedited. The arbitration shall be commenced by a demand for arbitration. If a party
      fails to respond to the demand to arbitrate within ten (10) business days, the aggrieved party may apply ex parte
      to the Court in Clark County, Nevada, United States of America for an order to arbitrate, unless the rules of the
      arbitration forum do not require such an order. An arbitration award may be enforced by applying to a court in
      Clark County, Nevada, United States of America. The law the State of Nevada shall be applied in any
      arbitration proceedings, without regard to that jurisdiction s choice-of-law principles and rules. The parties shall
      not be entitled to discovery in the arbitration and the arbitrator shall have no authority to order any party to
      submit to discovery with the exception that the Arbitrator may request the parties or their agents to produce
      such documents as are pertinent and relevant to the dispute. The arbitrator shall have no authority to award
      punitive, consequential, special, or indirect damages. The cost of the arbitration proceeding and any proceeding
      in court to confirm or to vacate any arbitration award, as applicable (including, without limitation, reasonable
      attorneys fees and costs) shall be borne by the unsuccessful party, as determined by the arbitrator, and shall be
      awarded as part of the arbitrator s award. The arbitration shall be binding.
      3. In the event that the arbitration includes or would include the adjudication of facts, law or claims common to
      parties not bound by an arbitration provision such that adjudication in the arbitration may result in inconsistent
      and/or conflicting findings, rulings or orders, or if such adjudication is based on transactions or series of
      transactions that involve parties who would not be bound by this arbitration provision, the parties hereto agree
      that the dispute will be adjudicated in a court in the jurisdiction and venue provided elsewhere in these Terms
      and Conditions, unless such parties agree to participate in the arbitration, so that all necessary parties can be
      joined to avoid inconsistent and/or conflicting findings, rulings or orders.
      4. Prior to initiating an arbitration proceeding, the parties shall make a good faith attempt to resolve the dispute
              through
                    Casemediation  by providing written
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              party shall have ten (10) business days to respond in writing. No party shall be entitled to recover any fees or
              costs in arbitration if they have failed to mediate in good faith. The mediator will be selected from the same
              alternative dispute provider specified above, unless the parties agree in writing to a different mediator.
              5. If the provisions for arbitration in these Terms and Conditions are, for any reason, invalidated or deemed
              unenforceable, then the dispute shall be adjudicated in a federal or state court located in Clark County, Nevada,
              USA. This includes any dispute concerning the AML BitCoin Tokens, AML BitCoins, NAC Websites, these
              Terms and Conditions, any agreement between You and NAC, its subsidiaries, affiliates, or licensors and their
              shareholders, owners, partners, joint ventures, trustees, beneficiaries, directors, officers, employees, attorneys,
              consultants, and agents, or any other aspect of the relationship between You and NAC, its subsidiaries,
              affiliates, or licensors and their shareholders, owners, partners, joint ventures, trustees, beneficiaries, directors,
              officers, employees, attorneys, consultants, and agents. You agree that the forum selection clause contained
              herein is mandatory and not permissive and You agree not to object to adjudication in Clark County, Nevada on
              grounds of forum non-conveniens. Not sure what word this is supposed to be but whatever it is it s misspelled.
              6. Waiver of Trial by Jury. THE PARTIES UNDERSTAND AND FULLY AGREE THAT BY AGREEING
              TO THESE TERMS AND CONDITIONS TO ARBITRATE THEY ARE GIVING UP THEIR
              CONSTITUTIONAL RIGHT TO HAVE A TRIAL BY JURY, AND ARE GIVING UP THEIR NORMAL
              RIGHTS OF APPEAL FOLLOWING THE RENDERING OF A DECISION, EXCEPT AS THE FEDERAL
              ARBITRATION ACT AND APPLICABLE FEDERAL LAW PROVIDE FOR JUDICIAL REVIEW OF
              ARBITRATION PROCEEDINGS.
              7. You HEREBY AGREE to WAIVE YOUR RIGHT TO PARTICIPATE IN A CLASS ACTION LAWSUIT
              OR CLASS-WIDE ARBITRATION. Any dispute resolution proceedings will be conducted only on an
              individual basis and not in a class, consolidated or representative action. If for any reason a claim proceeds in
              court rather than in arbitration, we each waive any right to a jury trial. If a court or federal regulator with
              oversight over NAC determines that applicable law precludes enforcement of any of this section s limitations as
              to a particular claim for relief, then that claim (and only that claim) must be severed from the arbitration and
              may be brought in court, subject to Your and NAC s right to appeal the court s decision.
              8. You acknowledge the following risks and You accept them:
                     1. Digital coins and tokens, such as AML BitCoin Tokens and AML BitCoin, blockchain technology, and
                     other associated and related technologies are new and relatively untested and to a degree are outside of
                     NAC s exclusive
control. Moreover, in some jurisdictions the AML BitCoin Token and AML BitCoin or other digital coins or
cryptocurrencies may be considered to be a security, or in the future, may be determined to be a security. NAC makes no
warranties or guarantees that the AML BitCoin Token and AML BitCoin are not a security in all jurisdictions. Regulatory
bodies around the world are in the process of forming their opinions as to the purchase, sale, and use of digital coins and
cryptocurrencies and laws concerning them are being considered in various jurisdictions throughout the world; the process
of developing such laws is currently fluid and the laws are not uniform. Likewise, blockchain technologies have been the
subject of scrutiny by various governments and regulatory bodies throughout the world. Furthermore, exchanges which
enable the exchange of digital coins and cryptocurrencies with other such digital coins or cryptocurrencies or the exchange
of such for fiat money, if any, might be subject to regulatory oversight, and such exchanges are currently the subject of
reviews by governments and regulatory bodies; and governments and regulatory bodies are currently enacting laws and
regulations permitting, prohibiting and regulating such exchanges. Laws and regulations could be enacted that could impede
or limit the ability to purchase, sell, exchange, transfer, use or mine AML BitCoins and/or AML BitCoin Tokens, and/or use
the AML BitCoin Wallet, the AML BitCoin Token Wallet and/or an NAC Website, and accordingly, the value of the AML
BitCoin or AML BitCoin Token could be diminished as a result. You shall bear the legal or financial consequences of AML
BitCoin Token and AML BitCoin being considered a security in Your respective jurisdiction. NAC makes no representation
or warranty of any kind as to the legality of purchasing, selling, exchanging, transferring, using or mining AML BitCoins
and/or AML BitCoin Tokens, and/or using the AML BitCoin Wallet, AML BitCoin Token Wallet and/or an NAC Website
in Your jurisdiction, and by accepting these Terms and Conditions, You agree that You will not purchase, sell, exchange,
transfer, use or mine AML BitCoins and/or AML BitCoin Tokens, and use the AML BitCoin Wallet, AML BitCoin Token
Wallet and/or an NAC Website in a jurisdiction which prohibits same.
2. Hackers or other groups or organizations may attempt to interfere with Your AML BitCoin Token Wallet, Your AML
BitCoin Wallet, the NAC Websites or the availability of AML BitCoin Tokens or AML BitCoins in any number of ways,
including without limitation denial of service attacks, Sybil attacks, spoofing, smurfing, malware attacks, or consensus-
based attacks.
3. There is a risk that the NAC Websites and AML BitCoin Token and AML BitCoin may unintentionally include
weaknesses or bugs    in the
                   Case      source code interfering
                           3:20-cr-00249-RS          with the use
                                                  Document        of or causing
                                                               484-2             the loss of AML
                                                                          Filed 01/18/25      PageBitCoin
                                                                                                   110 ofToken
                                                                                                          116 and AML
BitCoin.
4. Advances in cryptography, or technical advances such as the development of quantum computers, could present risks to
cryptocurrencies, which could result in the theft or loss of or loss of use of AML BitCoin Tokens, AML BitCoins, Your
AML BitCoin Token Wallet and/or Your AML BitCoin Wallet.
5. As with other decentralized cryptocurrencies, the blockchain is susceptible to mining attacks, including but not limited to
double-spend attacks, majority mining power attacks, selfish-mining attacks, and race condition attacks. Any successful
attacks present a risk to the expected proper execution and/or sequencing of digital coins. Despite the best efforts of NAC,
the risk of unknown or novel mining attacks exists. Mining attacks, as described above, may also target other blockchain
networks, with which the AML Token and AML BitCoin may interact with and consequently the AML Token and AML
BitCoin may be impacted as a result thereof.
6. While there are currently online services available which enable the possibility of exchange of digital coins and
cryptographic coins with other such coins or the exchange of digital coins and cryptographic coins for fiat money, and
particularly the exchange of AML BitCoin Tokens and AML BitCoins on such exchanges, NAC makes no warranties and/or
guarantees that AML BitCoin Token and AML BitCoin will be listed or made available for exchange with other digital
coins and cryptographic coins and/or fiat money in the future, and no warranties or guarantees are given whatsoever with
respect to the capacity (volume) of such potential exchanges or the demand for AML BitCoins or AML BitCoin Tokens in
the future. Accordingly, NAC does not give any warranties or guarantees regarding any exchange services providers.
Furthermore, You may be exposed to fraud and/or failures concerning such exchanges.
7. The value of AML BitCoin Token and AML BitCoin may fluctuate and You may suffer loss in value of the AML
BitCoin Tokens or AML BitCoins that You purchase and own.
8. AML BitCoin Token and AML BitCoin are unlike bank accounts or accounts at some other financial institutions, which
may be insured by such organizations as the Federal Deposit Insurance Corporation, and therefore are entirely uninsured.
NAC does not offer any indemnity in case of any losses in relation to AML BitCoin Token and AML BitCoin. You assume
all risks regarding a loss of Your AML BitCoins or AML BitCoin Tokens.
9. You acknowledge that, given that the transmission of AML BitCoin Tokens and AML BitCoins is entirely dependent on
the use of computers, computer software, and Internet connections, malfunctions, delays, failures, disruptions, errors, or
distortions may be experienced, and You accept all risks associated therewith and agree that NAC shall have no liability for
such malfunctions, delays, failures, disruptions, errors, or distortions.


 C. Safe Harbor Statement/Agreement
 NAC Foundation, LLC ( NAC ), a limited liability company organized and existing under the laws of the State of Nevada
 with its principal place of business and infrastructure in Las Vegas, Nevada, processes information obtained through the
 registration and validation process for securing an AML BitCoin Token Wallet and AML BitCoin Wallet, and through the
 amlbitcoin.com, amltoken.com.com and amlbitcoinwallet.com websites in the United States of America. By registering for
 an AML BitCoin Wallet and purchasing, selling, exchanging, transferring, using or mining AML BitCoins and/or AML
 BitCoin Tokens, and by using the AML BitCoin Token Wallet and/or AML BitCoin Wallet, a user consents to permit
 NAC to process and his or her information. Any information processed by NAC subject to the GDPR, as defined elsewhere
 in this Agreement, may be subject to additional verification not specifically provided for in this Agreement at the time that
 You exercise any applicable right to be forgotten.

 KYC/AML
 NAC prides itself on the integrity and transparency of its business. Resting on a privately- regulated public blockchain,
 NAC will introduce a personal legal identity-linked credential authentication protocol into the source code of AML
 BitCoin that permits tracing and tracking of the identities of senders and receivers of the coin when activity with the use of
 the AML BitCoin indicates suspicious activities in violation of AML laws. AML BitCoin transactions and their associated
 IP locations of senders and receivers will be monitored and analyzed in United States with monitoring and detecting
 software that allows NAC to identify suspicious activities.

 Records of such transactions will be maintained by NAC for six-years (or such other period of time required under
 applicable law). Suspicious activities associated with AML BitCoin transactions together with personal information and IP
 locations of corresponding senders and receivers may, in NAC s sole judgment, be reported to relevant government
 entities. In the event NAC receives or possesses information that would lead to a suspicion that a transaction in AML
 BitCoins is violating or is about to violate or facilitate a violation of money laundering, anti- terrorist financing, or anti-
fraud laws a violation
                 Caseof  a validly issued court Document
                       3:20-cr-00249-RS         order or other valid governmental
                                                            484-2                  order, Page
                                                                      Filed 01/18/25      NAC may
                                                                                                111 refuse
                                                                                                     of 116to process, or
may rescind, cancel or reverse, any purchase, sell, exchange, transfer, use or mine with and of AML BitCoins and/or AML
BitCoin Tokens, and freeze the associated AML BitCoin Wallet.

The purchase, sale, exchange, transfer, use or mining of AML BitCoins and/or AML BitCoin Tokens and/or use of the
AML BitCoin Token Wallet and/or AML BitCoin Wallet involves a degree of relinquishment privacy relating to NAC s
monitoring and reporting of transactions as stated above.

To obtain an AML BitCoin Wallet and to purchase, sell, exchange, hold, mine and use AML BitCoin Tokens and AML
BitCoins, a user must complete, obtain, and comply with the procedures for and to obtain a certified digital identity profile,
which includes a biometric scan of one of more of the face iris, retina, and fingerprint, and documents and information
such as passport, driver s license, address, social security number, email address, and bank account information. While at
this time, NAC intends to use and rely upon the Digital Identity Trust Network to administer and process the certified
digital identity profile, in the future, NAC may rely upon an alternative vendor for the creation, administration and
processing of certified digital identity profiles by means of biometric scans. NAC reserves the right to use any digital
identity platform until NAC finds one suitable for permanent use.

Users located in certain territories, currently including countries subject to sanctions imposed by laws or regulations of the
United States or any governmental agency, department or office of the United States (such as the Office of Foreign Assets
Control within the U.S. Department of the Treasury), or executive orders of the President of the United States, or treaties to
which the United States is a party, or otherwise imposed by other organizations, such as the United Nations, European
Union, any European Union country, the United Kingdom s Department of Treasury, or any other sanctions list recognized
and enforced by the United States, such as, without limitation and solely by way of example, the Democratic People s
Republic of North Korea and its territories, Iran, and Iraq, are not permitted to purchase, sell, exchange, transfer, use or
mine AML BitCoins and/or AML BitCoin Tokens, and/or use the AML BitCoin Token Wallet, AML BitCoin Wallet
and/or an NAC Website. This restriction applies to residents and citizens of other nations while located in a prohibited
jurisdiction. The fact that the NAC Website may be accessible in a prohibited jurisdiction, or that the NAC Website allows
the use of the official language of a prohibited jurisdiction, shall not be construed as a license to use purchase, sell,
exchange, transfer, use or mine AML BitCoins and/or AML BitCoin Tokens, and/or use the AML BitCoin Wallet, AML
BitCoin Token Wallet and/or an NAC Website in such prohibited jurisdiction. If NAC suspects that a user is located in a
prohibited jurisdiction, NAC may, without notice, and in accordance with applicable laws, close, suspend and/or deactivate
an AML BitCoin Wallet, and/or refuse to process, rescind, and/or deactivate an AML BitCoin Wallet, and/or refuse to
process, rescind, cancel or reverse, any purchase, sale, use, exchange and/or mine or any other transaction or use of and/or
by and/or with AML BitCoins and/or AML BitCoin Tokens.

Forward-Looking Statements: Statements, other than statements of historical facts, included in NAC s white paper, public
statements, press releases, marketing, and/or advertising materials address activities, events or developments that the NAC
anticipates will or may occur in the future. These forward-looking statements include such things as regulatory
compliance, computer security, the anticipated use of AML BitCoin and/or AML BitCoin Token or other similar matters.
These statements are based on certain assumptions and analyses made by NAC in light of its experience and perception of
historical trends, current conditions and expected future developments. However, the actual results of the plan for AML
BitCoin Tokens and AML BitCoins might not conform with NAC s expectations due to a number of risks and
uncertainties, many of which are beyond NAC s control, including, cybersecurity matters, changes in laws or regulations,
secondary market conditions and other risks. Thus, all of the forward-looking statements made in NAC s white paper,
public statements, press releases, marketing, and/or advertising materials are qualified by these cautionary statements.
There can be no assurance that actual results will conform to NAC s.

The Distribution of AML Tokens to AML Wallet Addresses

Once users upload AML Wallet Addresses to the Token Sale platform in their account profile page, users are signifying
that their AML Wallet Address is correct and that purchased AML BitCoin Tokens are to be sent to the AML Wallet
Address listed. If the AML Wallet Address changes for any reason including AML Wallets being accidentally deleted, etc.,
it is the responsibility of users to delete the incorrect AML Wallet Address and add the correct AML Wallet Address to
their Token Sale account profile page as soon as possible.

It is the responsibility of users to ensure that the correct AML Wallet Address is listed in their Token Sale account profile
page. It is the responsibility of users to ensure that the correct AML Wallet Address is listed in their Token Sale account
profile page. It isCase
                    the responsibility of users to Document
                          3:20-cr-00249-RS         maintain their own wallets
                                                               484-2   Filedand  their passwords
                                                                              01/18/25           and other
                                                                                           Page 112  of 116encryption. The
user represents and warrants that the user understands that NAC cannot replace or restore passwords or wallets, and does
not and cannot reimburse or re-issue tokens that are lost or rendered inaccessible.

When the NAC Foundation distributes AML BitCoin Tokens from the Token Sale platform to a user s AML Wallet
Address and if it turns out that the user deleted the wallet, created another wallet, and forgot to upload the new wallet
address to the platform, or a different circumstance in which the incorrect AML Wallet Address was not listed in the
platform, then the user s tokens will be lost and the NAC Foundation bears no responsibility.

The above is the reason that the NAC Foundation highly recommends that all users create a wallet backup. In the event
that users accidentally delete their wallet or open up a new wallet and do not update the platform with a new AML Wallet
Address, users can still recover the coins sent to their old AML Wallet Address, if the wallet backup was kept.

Other Risks
The purchase of AML BitCoin Tokens and AML BitCoins involves a high degree of speculation.

Digital coins and tokens, such as AML BitCoin Tokens and AML BitCoin, blockchain technology, and other associated
and related technologies are new and relatively untested and to a degree are outside of NAC s exclusive control. Moreover,
in some jurisdictions the AML BitCoin Token and AML BitCoin or other digital coins or cryptocurrencies may be
considered to be a security, or in the future, may be determined to be a security. NAC makes no warranties or guarantees
that the AML BitCoin Token and AML BitCoin are not a security in all jurisdictions. Regulatory bodies around the world,
are in the process of forming their opinions as to the purchase, sale, and use of digital coins and cryptocurrencies and laws
concerning them are being considered in various jurisdictions throughout the world; the process of developing such laws is
currently fluid and the laws are not uniform. Likewise, blockchain technologies have been the subject of scrutiny by
various governments and regulatory bodies throughout the world.

Furthermore, exchanges which enable the exchange of digital coins or cryptocurrencies with other such digital coins or
cryptocurrencies and/or the exchange of such for fiat money, if any, might be subject to regulatory oversight, and such
exchanges are currently the subject of reviews by governments and regulatory bodies; and governments and regulatory
bodies are currently enacting laws and regulations permitting, prohibiting and regulating such exchanges. Laws and
regulations could be enacted that could impede or limit the ability to purchase, sell, exchange, transfer, use or mine AML
BitCoins and/or AML BitCoin Tokens, and/or use the AML BitCoin Wallet, AML BitCoin Token Wallet and/or an NAC
Website, and accordingly, the value of the AML BitCoin or AML BitCoin Token could be diminished. NAC makes no
representation or warranty of any kind as to the legality of purchasing, selling, exchanging, transferring, using or mining
AML BitCoins and/or AML BitCoin Tokens, and/or using the AML BitCoin Wallet, AML BitCoin Token Wallet and/or
an NAC Website in a particular user s jurisdiction.

Hackers or other groups or organizations may attempt to interfere with an AML BitCoin Token Wallet, an AML BitCoin
Wallet, an NAC Website or the availability of AML BitCoin Tokens or AML BitCoins in any number of ways, including
without limitation, by denial-of-service attacks, Sybil attacks, spoofing, smurfing, malware attacks, and/or consensus-based
attacks.

There is a risk that an NAC Website and AML BitCoin Token and AML BitCoin may unintentionally include weaknesses
or bugs in the source code interfering with the use of or causing the loss of AML BitCoin Token and AML BitCoin.

Advances in cryptography, or technical advances such as the development of quantum computers, could present risks to
digital coins and cryptocurrencies, which could result in the theft or loss of or loss of use of AML BitCoin Tokens, AML
BitCoins, AML BitCoin Token Wallet and/or an AML BitCoin Wallet.

As with other decentralized cryptocurrencies, the blockchain is susceptible to mining attacks, including but not limited to
double-spend attacks, majority mining power attacks, selfish- mining attacks, and race condition attacks. Any successful
attacks present a risk to the expected proper execution and/or sequencing of digital coins. Despite the best efforts of NAC,
the risk of unknown or novel mining attacks exists. Mining attacks, as described above, may also target other blockchain
networks with which the AML BitCoin Token and AML BitCoin may interact, and consequently AML BitCoin Tokens
and AML BitCoins may be impacted as a result thereof.
While there are currently online services available
                  Case 3:20-cr-00249-RS             which enable
                                               Document    484-2the Filed
                                                                     possibility of exchange
                                                                            01/18/25     Page of113
                                                                                                 digital coins and
                                                                                                     of 116
cryptographic coins with other such coins or the exchange of digital coins and cryptographic coins for fiat money, and
particularly the exchange of AML BitCoin Tokens and AML BitCoins on such exchanges, NAC makes no warranties
and/or guarantees that AML BitCoin Token and AML BitCoin will be listed or made available for exchange with other
digital coins and cryptographic coins and/or fiat money in the future. Further, no warranties or guarantees are given
whatsoever with respect to the capacity (volume) of such potential exchanges or the demand for AML BitCoins or AML
BitCoin Tokens in the future. Accordingly, NAC does not give any warranties or guarantees regarding any exchange
services providers. Furthermore, a user may be exposed to fraud and/or failures concerning such exchanges.

The value of AML BitCoin Token and/or AML BitCoin may fluctuate and a loss may be suffered in value of the AML
BitCoin Token and/or AML BitCoin.

AML BitCoin Token and AML BitCoin are unlike bank accounts or accounts at some other financial institutions, which
may be insured by such organizations as the Federal Deposit Insurance Corporation, and therefore are entirely uninsured.
NAC does not offer any indemnity in case of any losses in relation to AML BitCoin Token and AML BitCoin. The owner
of AML BitCoin Tokens and AML Bitcoins assumes the risk of loss.

The transmission of AML BitCoin Tokens and AML BitCoins is entirely dependent on the use of computers, computer
software, and Internet connections, malfunctions, delays, failures, disruptions, errors, or distortions may be experienced.
NAC shall have no liability for such malfunctions, delays, failures, disruptions, errors, or distortions.

NAC FOUNDATION, LLC S REFUND POLICY
Although we do not provide refunds, where there are extenuating circumstances, NAC may make an exception and provide
a refund. Generally, however, where exceptions are made they will be in instances where cryptocurrency was deposited on
the platform to purchase AML BitCoin Tokens, but conversion of the cryptocurrency to the AML BitCoin Tokens did not
occur. Using Ethereum as an example, NAC would refund the full amount of the ETH deposited. Or, if there was a
conversion of the cryptocurrency to purchase AML, and a balance of crypto exists after conversion, NAC can refund the
balance of cryptocurrency. All refunds will be in US dollars at the rate of exchange of the cryptocurrency on the date of the
deposit of the cryptocurrency.

Special consideration may be given to reimburse in digital currency when digital currency was converted to the AML
BitCoin Token. To make a special request, one must submit a notarized statement to NAC stating why a refund is
requested and acknowledge that the request for the special consideration will be reviewed after the ICO is completed.

In the event that an AML Wallet passphrase is forgotten, a refund will not be granted. It is the responsibility of Token
Holders to remember their own passphrase.

Refund requests are only accepted 45 days after the date that tokens were purchased, or currency deposits (all types) were
made into accounts, if currency deposits were not converted to tokens.

If anyone on the AML BitCoin team, which includes our technical support staff, has ever told you or anyone purchasing an
AML Token/AML BitCoin, any of the following listed below, please let us know and you will get an automatic refund and
you will also be able to keep all of your coins, pending compliance approval.

       Pooled interest
       Any type of return
       Any type of capital gain
       Any type of interest
       Any type of ownership in the company.
       That the coin had an underlying collateral.


DISCLOSURE TO HOLDERS OF ATEN COINS: RIGHTS AND OBLIGATIONS OF LEGACY
TOKEN-HOLDERS
At this time, NAC is converting all predecessor tokens, including the Aten Coin, into AML Bitcoin Tokens on a 1:1 basis.
All rights, duties,Case
                    powers and obligations any holder
                        3:20-cr-00249-RS              of Aten
                                               Document       Coins may
                                                           484-2    Filedhave, by contract
                                                                           01/18/25        or otherwise,
                                                                                        Page   114 of 116are preserved in
any such conversion to the extent that Aten Coin will be redeemed for AML Bitcoin on a 1:1 basis. NAC will discontinue
further support for the legacy tokens upon the completion of such redemption. It is the Aten Coin holder s responsibility to
immediately contact NAC via the contact information below to arrange for the conversion of Aten or any other legacy
token into AML Bitcoin. All conversions will be on a 1:1 basis. Please see the notice that was issued separately to all
known holders of Aten Coin or any other legacy token.

After the greater of either 180 calendar days from the first publication of this DISCLOSURE or the longest period of time
allowed under any state law, any such Aten or other legacy tokens will be construed as unclaimed property. NAC will
not continue any support for such tokens and will discontinue support of wallets or other digital storage media for such
tokens. Please contact NAC immediately to arrange for the 1:1 conversion of any legacy token including the Aten Coin
into the AML Bitcoin Token.

Any of the above mentioned things would be ground for an automatic refund and that member of the AML BitCoin Team
will be immediately terminated. If you were told anything similar to the above, please email [email protected] and copy
[email protected] and provide proof of such statements.

NOTICE TO RESIDENTS OF THE EUROPEAN UNION AND THE UNITED KINGDOM:
Users who are under the age of thirteen (13) may not use any NAC Website. Please contact [email protected], in order to
exercise your right to be forgotten as defined in the General Data Protection Regulation of the European Union or the
analogous laws of the United Kingdom. All parties identified as a Third-Party herein are third parties for purposes of the
GDPR.

All information that you submit to NAC in any form shall become the property of NAC except where otherwise stated.
Users who provide us with their email address will be added to our mailing list if the user so elects. NAC only uses email
addresses to send promotional information at this time. User email addresses are stored by us on our 3rd party mailing
service provider/own servers and are not shared with any other third party. Users can remove themselves from this email
address by emailing us at [email protected] or by clicking the Unsubscribe button on any of our emails.

This same contact information may be used to exercise your right to be forgotten.

Certain of your information may be retained in pseudonymous form by NAC or certain of the Third Parties, as defined in
greater detail below. Pseudonymous information is information which may be used to identify your online behavior
without identifying you specifically, or your physical address. Such information includes your IP address, the time during
which you visit a NAC Website, the duration of your visit, and the general area of geographic origin of your visit.

NAC collects certain information from and about you. This notice will explain what this information is, how it is used,
what third parties receive it, and how you may instruct NAC not to collect, retain, or use certain of that information, and
how to instruct us to delete this information from the Company s own records. Please see below for: What Personal
Information We Collect From You, What Non-Personal Information We Collect About You, a List of Third Parties Who
Receive Information You Provide Us With Their Contact Information, and Instructions For Exercising Your Right To
Instruct Us To Forget Your Information.

What Personal Information We Collect from You.

              Any information that you enter into any text field on any wepbage on any NAC Website will be collected by
           NAC for internal use except where noted otherwise in this notice.
              The Company uses cookies. Cookies are small files that are you communicated to your web browser so
           that the Website can remember the selections and inputs you have made from one webpage to another within
           the Website. For example, if you select products for an order and then proceed to checkout, the Website will use
           a cookie to ensure that information from catalog webpages is accurately received by the checkout webpage. If
           you do not wish to receive cookies from the Website, please contact us at the information below and
           discontinue using the Website.
              NAC Websites will collect information about your location based on your IP address. An IP address is a non-
           static identifier that allows NAC to know, in general terms, where its users are located. An IP address is not the
           same as a physical address, and is not the same as either a shipping address or a billing address. When we
           collect IP addresses,
                Case             we do not undertake
                       3:20-cr-00249-RS              any efforts
                                              Document    484-2to correlate them to a physical
                                                                   Filed 01/18/25      Page 115address.
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NAC uses your IP address for internal purposes such as knowing which countries provide certain percentages of its users.
NAC does not distribute your IP address to any other person. NAC does not verify your IP address or connect it to a
shipping or a address. Your IP address is not and cannot be used by NAC to identify you personally. NAC s web host will
also know your IP address for purposes of logging visits to a NAC Website from your IP address and for preventing
distributed denial-of-service attacks, which are disruptive attacks on websites caused by very large numbers (hundreds of
thousands or more) of near-simultaneous visits to websites

        NAC collects information such as the number of users visiting the website at any given time, the times during
     which visitors visit NAC Websites , the length of time that users use a NAC Website, which pages they visit, which
     products they order, and what other actions they take while on the website. This information is collected by NAC and
     is provided in an anonymized form to the Company s data analytics provider, which is Google Analytics. Certain
     other analytics tools, including tools for purposes of targeted advertising, which include Facebook and Google
     Optimize. Facebook may provide targeted advertising based on your search and browser history, your session history,
     and any account information that you provide to NAC at any time (such companies altogether, the Data Analytics
     Providers ). This information is used by NAC to track the engagement, general geographic origin, and headcount of
     its users. This information is combined together to provide general demographic information on the Website s users.
     This information is not and cannot be used to identify you specifically.




The Data Analytics Providers are third parties for purposes of the GDPR.

List of Third Parties Who Receive Information You Provide Us With Their Contact Information

        The Contact Information for our Web Host is: Pagely https://pagely.com/contact/
        The Contact Information for the Data Analytics Provider is: Google (Alphabet) https://www.google.com/contact/
        Facebook https://www.facebook.com/help/


You may contact us at [email protected] in order to exercise any of your rights under the GDPR. This includes:

        The right to know what information we have about you;
        The right to compel us to disclose some or all of that inforamtion to you;
        The right to compel us to forget (erase) some or all of that information;
        The right to instruct us to cease collection of such information


Instructions For Exercising Your Right To Instruct Us To Forget Your Information

The GDPR provides a generalized right to be forgotten, meaning that You have the right to instruct us to delete any and
all information that NAC or any of the third parties collects about you. Please contact us by email at [email protected] in
order to instruct us to forget any or all of the information that the Company, the Website, or any of the third parties collects
about you.

Disclaimer of Warranties
THESE TERMS AND CONDITIONS CONTAIN AN EXPRESS WARRANTY DISCLAIMER. USING ANY NAC
PRODUCTS OR SERVICES SHALL BE SOLELY AT THE RISK OF THE END USER. TO THE MAXIMUM
EXTENT PERMISSIBLE UNDER ANY APPLICABLE LAW, ANY APPLICABLE WARRANTIES, INCLUDING
WARRANTIES OF MERCHANTABILITY AND WARRANTIES OF FITNESS FOR A PARTICULAR PURPOSE,
ARE EXPRESSLY DISCLAIMED. YOU EXPRESSLY INDEMNIFY AND HOLD HARMLESS THE COMPANY FOR
ANY DAMAGES ARISING FROM ITS USE, DOWNLOADING, INSTALLATION, UNINSTALLATION, OR ANY
OTHER USE, INCLUDING TO THE MAXIMUM EXTENT PERMISSIBLE UNDER ANY APPLICABLE LOCAL
LAW ACTUAL Case
             DAMAGES,   MULTIPLICATIVE
                 3:20-cr-00249-RS      DAMAGES,
                                  Document 484-2 SPECIAL  OR CONSEQUENTIAL
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                                                                  Page 116 of 116
ARE NO LIQUIDATED DAMAGES UNDER THESE TERMS AND CONDITIONS. NO ADVICE GIVEN TO YOU
BY NAC MAY BE CONSTRUED AS TAX ADVICE OR LEGAL ADVICE. SUCH ADVICE IS GENERALIZED (NOT
SPECIFIC TO YOUR NEEDS OR CIRCUMSTANCES). YOU MAY NOT RELY TO YOUR DETRIMENT ON ANY
REPRESENTATIONS MADE BY NAC AT ANY TIME, THROUGH THE WEBSITE OR OTHERWISE.

More Information

About Us

White Paper

Terms & Conditions

Data Privacy Policy

Please Note

The AML BitCoin Token is currently trading and not the finalized AML BitCoin.

Contact Us

Corporate Office
7495 Azure Dr. Suite 110
Las Vegas, NV 89130
Phone: +1 702-515-4038
Email: [email protected]

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Terms and Conditions Agreement




By entering this website:

       You agree AML BitCoin s terms and conditions.


TERMS AND CONDITIONS (effective June 21, 2019)

NOTE TO ANY PERSON WHO OWNED OR CONTINUES TO OWN ANY NAC FOUNDATION PRODUCT
PRIOR TO, OR SINCE, JUNE 21 2019: these Terms and Conditions supersede and replace all prior versions of any
Terms and Conditions entered into You by and between NAC and ABTC, as defined further below. Pursuant to a transfer
instrument, certain of Your rights, duties, powers and obligations pursuant to a prior version of these Terms and
Conditions and/or pursuant to the various purchase and sale agreements You may have entered into with NAC, may now
be performed by or through ABTC. None of your NAC products or services have been terminated, rescinded, canceled, or
otherwise alienated or transferred to the extent that You own such products or enjoy the fruits of such services. Further
correspondence to You regarding such products and services may be sent from, or to the attention of, ABTC and not
NAC. Please contact us with any questions regarding this transfer.



In using this website and/or registering for purchase and/or storage of AML BitCoin Tokens and/or for an AML BitCoins
